Case 2:19-cv-07053-MWF-FFM Document 1-1 Filed 08/13/19 Page 1 of 61 Page ID #:11




           EXHIBIT A
             Case 2:19-cv-07053-MWF-FFM Document 1-1 Filed 08/13/19 Page 2 of 61 Page ID #:12
Elecirotilcally FILED by Superior Court of California, County of Los Angeles on 08/05/20^|gfri R. Carter, Executive Officer/Clerti of Court, by R. Clifton,Deputy CletK
                                                                                                                                                                    SUM-100
                                                                                                                                       Foa COURT use only
                                                            SUMMONS                                                                 (SOLO PARA usooe LA CORTS)
                                                     (CITACION JUDICIAL)
          NOTICE TO DEFENDANT;
          (A VISO AL DEMANDADO):
           GREGORY BLATT, lAC/INTERACTIVE CORP. and MATCH
           GROUP, INC.
          YOU ARE BEING SUED BY PLAINTIFF;
          (LO ESTA DEMANDANDO el DEMANDANTE):
           ROSETTE PAMBAKIAN


            NOTICE! You have been sued. The court may dedde against you without your being heard unless you respond within 30 days. Read the information
            below.                                 *
               You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
            served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
            case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
            Online Self-Help Center (vmw.couriinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
            the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default and your wages, money, and property
            may be token without further warning from the court.
               There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
            referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
            these nonprofit groups at the California Legal Sen/ices Web site {www.lawheipcaliforfva.oig), the California Courts Online Self Help Center
            {wvm.courtinfo.ca.gov/selfh^p), or by contacting your locad court or county bar association. NOTE; The court has a statutory lien for waived fees and
            costs on any settlement or arbitration award of $10,000 or more in a civil case. The court’s lien must be paid before the court will dismiss the case.
            IA VISO! Lohan demandado. Si no responde derUfo de 30 dias, la cods puede decidir en su contra sin escuchar su veradn. Lea la informacion a
            conSnuacidn.
               Tiene 30 DIAS DE CALENDARIO despuds de que le entreguen esta cHacldn ypapeles legales para presentar una respuesta par escrito en esta
            corie y hacer que se entregue una copia al demandants. Una carta o una llamada telefdnica no lo protegen. Su respuesta par escrito Sene que estar
            en formaio legal correcto si desea que procesen su caso en la carte. Es posible que haya un formulario que i^ted pueda usar para su respuesta.
            Puede enconS'ar estos formularios de la code y mds infotmacidn en el Centro deAyuda de las Cortes da California fww'iV.sucorte.ca.gov), en la
            biblioteca de leyes de su condado o en la code que le quede mds cerca. Si no puede pagarla cuata de presentacidn, pida al secretario de la corte
            que le de un formulario de exencidn de page de cuotas. Si no presents su respuesta a tiempo, puede perderel caso por incumplimiento y la code le
            podraquitar su sueldo, dineroy bienes sinmdsadvsdencia.                                                 >
              Hay otros requistos legales. Es recomendable que Same a un abogado inmedatamente. Si no conoce a un abogado, puede llamar a un servicio de
            remisfon a abogados. Si no puede pagara un abogado, es posiUe que cumpla con los requisites para obtener servicios legales gratuitos de un
            programa de servicios legales sin lines de lucro. Puede encontrar estos ^pos sin fines de lucre en el sitio web de California Legal Services,
            /www.lawhelpcalifomia.org;, en el Centro de Ayuda de las Cades de Califorrua, (lrvww.sucorte.ca.gov) o poni6ndose en contacto con la corte o el
            colegio de abogados locales. A VISO: Par ley, la corte Sene derecho a reclamar las cuotas y los costas exentos por importer un gravamen sobre
            cualquierrecuperacidn de $10,000 6 mds de valor recibida mediante un acuerdo o una crmcesion de artOraje en un caso de derecho civil. Ttene que
            pagarel gravamen de la corte antes de que la corte pueda desedhar el caso.
           The name and address of the court is;                                                                         CASE NrUtrfflER:
                                                                                                                         iWUmsm da Caso):
           (El nornbre y direccion de la corte es): LOS ANGELES SUPERIOR COURT
            STANLEY MOSK COURTHOUSE                                                                                        1 gs~rc:v27'4i b
            111 N. HILL STREET, LOS ANGELES, CA 90012
           The name, address, and telephone number of plaintiff’s attorney, or plaintiff without an attorney, is:
           (B rtombre, la direccidn y el numero de telefono del abogado del demandante, o del demandante que no tiene abogado, es):
            M Elizabeth Graham, Grant & Eisenhofer,101 California Street, Ste 2710, San Francisco, CA (415) 365-9585
                                       Sherri R. Carter Executive Officer / Clerk of Court
                                                                                   Clerk, by                                                                          , Deputy
           DATE;       oar 05/2019
            (Fecha)                                                                (Secretario)           Romunda
                                                                        ______________________________________                              Clifton                    (Adjunto)
           (For proof of service of this summons, use Proof of Service of Summons (form POS-01Q).)
           (Para prueba de entrega de esta citatidn use el formulario Proof of Sen/ice of Summons. (POS-010)).
                                             NOTICE TO THE PERSON SERVED; You are served
             ISEAU                           1. I      I as an individual defendant.
                                             2. I------1 as the person sued under the fictitious name of (specify):

                                         m
              m          mM
                         mi
                                              rfl'
                                                       3.        on behalf of fs^); lAC/INTERACTIVE CORR

                                                            under:
                                                                     I
                                                                           CCP4fB:      orporation)
                                                                         I CCP 416.20 (defunct corporation)
                                                                                                                   t—TXCP 416.60 (minor)
                                                                                                                   I I CCP 416.70 (conservatee)
                                     m/                              I   I CCP 416.40 (association or partnership) | | CCP 416.90 (authorized person)

                                                                   I    I other (specify):
                                                       4. I     I by personal delivery on (date):
                                                                                                                                                                         Page 1 of 1
                                                                                                                                                Coda of CMi Procedum §§ 412.20,455
            Form Arioptad for Mandatory Uso                                          SUMMONS                                                                    Wkvw.courfinfeca.gov
              Judidat Counc'd of CaSfortta
             SUM-100 fftev. July 1. 2009)
             Case 2:19-cv-07053-MWF-FFM Document 1-1 Filed 08/13/19 Page 3 of 61 Page ID #:13
Electronically FILED by S I jerior Court of California, County of Los Angeies on 08/05/2019 09:^^M^herri R. Carter, Executive Officer/Cierit of Court, by R. Clifton,Deputy Cierk

                                         Assigned for all purposes to; Spring Street Courthouse, Judicial Officer: Stephen Goorvitch




                    1          M. Elizabeth Graham, CA 143085
                               Grant & Eisenhofer, P.A.
                    2          101 California Street, Suite 2710
                               San Francisco, California 94111
                    3          Phone: (415)365-9585
                               Fax: (415)365-9650
                    4          Email: egraham@gelaw.com
                    5          Additional Counsel for Plaintiff on
                               Signature Page
                    6
                                     IN THE SUPERIOR COURT FOR THE STATE OF CALIFORNIA
                    7
                                      COUNTY OF LOS ANGELES - UNLIMITED CIVIL JURISDICTION
                    8
                    9
                              ROSETTE PAMBAKIAN,                                                               CASE NO.__________________
                  10
                                                                Plaintiff,                                     COMPLAINT FOR DAMAGES AND
                  11                                                                                           DEMAND FOR JURY TRIAL
                                         V.
                  12                                                                                               (1)Negligence
                              GREGORY BLATT,                                                                       (2) Intentional Infliction of Emotional
                  13          lAC/INTERACTIVE CORP. and                                                                Distress
                              MATCH GROUP, INC.                                                                    (3) Sexual Battery (Civ. Code §
                  14                                                                                                   1708.5)
                                                                 Defendants.                                       (4) Gender Violence (Civ. Code §
                  15                                                                                               (5)Ral^li Act Violation (Civ. Code §
                  16                                                                                               (6) Negligent Misrepresentation
                   17                                                                                              (7) Wrongful Termination (Labor
                                                                                                                       Code! 1102.5)
                   18                                                                                              (8) Retaliation for Engaging in
                                                                                                                       Protected Activity (Gov. Code §
                   19                                                                                                  12940)
                  20                                                                                           JURY TRIAL DEMANDED
                  21
                  22
                  23
                  24
                  25
                   26
                   27
                   28
    Case 2:19-cv-07053-MWF-FFM Document 1-1 Filed 08/13/19 Page 4 of 61 Page ID #:14
a


       1          Plaintiff Rosette Pambakian, (“Plaintiff’) by her attorneys, files this Complaint

       2   seeking judgment against Defendants GREGORY BLATT (hereinafter, “Defendant

       3   Blatt”), lAC/INTERACTIVE CORP. (hereinafter, “lAC”) AND MATCHGROUP,

       4   INC. (hereinafter, “Match Group” or “Match”) (collectively, “Defendants”) for

       5   claims arising from a sexual assault perpetrated by Defendant Blatt on

       6   Ms. Pambakian while both were employed at Tinder, Inc., the subsequent cover-up

       7   by Defendants, and the retaliatory wrongful termination of Ms. Pambakian, and

       8   alleges as follows:
       9                              I.     SUMMARY OF CLAIMS

      10          1.     This case is about the abuse of the personal rights and well-being of

      11   Plaintiff, Rosette Pambakian, a successful marketing executive, by an insidious

      12   corporate culture that emphasized profit at all costs. Plaintiff was one of the earliest

      13   executive hires and the longest standing female executive at the dating app Tinder,

      14   until her retaliatory termination in 2018. While at an outside public relations agency.

      15   Plaintiff spearheaded the launch of Tinder in 2012. In 2014, she officially joined the

      16   company as Tinder’s Head of Communications, where she was essential to building

      17   the company from its early startup phase into the world’s most popular dating app, a

      18   multi-billion dollar enterprise and technology innovator.

      19          2.     Plaintiff has been credited as an integral part of Tinder’s success.

      20    Several Tinder founders have commented that Tinder could not have gotten where it

      21    did without the expertise and dedication of Plaintiff. When parent company Match

      22    marked its IPO in November 2015, due in large measure to the success of Tinder,

      23    Ms. Pambakian was invited to the NASDAQ trading floor for the ceremonial ringing

      24    of the bell. She was named one of the 40 under 40 by PR Week, one of Refinery 29’s

      25    Top Women in Tech, and included in Cosmopolitan Magazine’s Millennial Power

      26    List, all for her work at Tinder. Plaintiffs career was on the rise until she was

      27    sexually assaulted by the CEO of Match Group and Tinder, Gregory Blatt.

      28
                                                        1
                         COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
    Case 2:19-cv-07053-MWF-FFM Document 1-1 Filed 08/13/19 Page 5 of 61 Page ID #:15
w



       1          3.      Before stepping in, and while serving as, interim CEO of Tinder,

       2    Defendant Blatt was also the CEO and Chairman at Match Group. Match Group and

       3    its parent company lAC (hereinafter, “Company Defendants”), owned Tinder.

       4    However, when Defendant Blatt and his team arrived at Tinder, they brought lAC

       5    and Match Group’s misogynistic culture with them.

       6          4.      Defendant Blatt has k reputation for being a notorious bully, known for

       7    volatile outbursts and vindictive retribution. Plaintiff endured Defendant Blatt’s

       8    inappropriate behavior throughout their working relationship, culminating in

       9    December 2016 when he physically and sexually assaulted Plaintiff.

      10          5.      As soon as the Company Defendants became aware of Defendant Blatt’s

      11    assault and the events leading up to it, including the cultivation of a harassing work

      12    environment that rewarded men like Defendant Blatt, the Company Defendants

      13    began a campaign to cover up the assault and disparage Plaintiff. Indeed, a

      14    meaningful “investigation” of Plaintiff s complaint about Defendant Blatf s assault,

      15    which was required under lAC and Match company policies, and California law,

      16    never occurred. The Company Defendants failed to interview a key eyewitness and

      17    ignored damning facts, because the Company Defendants did not want to risk their

      18    bottom line. Rather, Plaintiff was marginalized, subject to additional harassing,

      19    offensive, and insulting behavior, put on administrative leave, publicly accused of

      20    consenting to her attacker’s advances, and finally, wrongfully terminated by

      21    Defendants.
      22                                        II.    PARTIES

      23          6.      Plaintiff is an individual who was and is at all times relevant to the

      24    claims alleged herein, a resident of Los Angeles County, California. At all times

      25    relevant to the claims herein. Plaintiff was employed and worked at Tinder

      26    headquarters in Los Angeles, California.

      27
       28
                                                 2
                          COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
Case 2:19-cv-07053-MWF-FFM Document 1-1 Filed 08/13/19 Page 6 of 61 Page ID #:16




   1         I.     Tinder, Inc. (“Tinder), at all times relevant to the claims alleged herein,

   2   was a Delaware corporation with its principal place of business in Los Angeles,

   3   California. From March 11, 2013 to July 13, 2017, Tinder was a Delaware
   4   corporation owned by Match Group. On July 13, 2017, Match Group merged Tinder

   5   into itself On information and belief. Match Group assumed all of Tinder’s

   6   liabilities and obligations, including those arising from Plaintiffs sexual assault, the

   7   inadequate investigation of Plaintiff s complaints about the assault, and Defendants’

   8   subsequent attempts to cover up both the events giving rise to Plaintiffs complaints

   9   and Plaintiffs complaints themselves.
  10          8.    Defendant Gregory Blatt is an individual, who at all times relevant to the

  11   claims alleged herein, was employed by Defendant Match Group and maintained an

  12   office at Tinder headquarters in Los Angeles, CA.
  13          9.    Defendant lAC, is, and at all relevant times mentioned herein was a

  14   corporation organized under the laws of the State of Delaware. At all relevant times

  15   mentioned herein, lAC’s primary place of business was located in New York, New

  16   York. lAC owns or controls Match Group, Inc.
  17          10.   Defendant Match Group is, and at all relevant times mentioned herein,

  18   was a corporation organized under the laws of the State of Delaware. At all relevant
  19   times mentioned herein. Match Group’s primary place of business was located in

  20    Dallas, Texas. Before Match became a public company on November 19, 2015, it

  21    was a wholly owned subsidiary of lAC. Since November 19, 2015, lAC has owned a
  22    majority of Match Group’s outstanding shares.

  23                           III.   JURISDICTION AND VENUE

  24          II.   This Court has jurisdiction over this action pursuant to California Code

  25    of Civil Procedure § 410.10. Plaintiffs seek damages under the statutory and

  26    common law of the State of California.

  27
  28
                                                   3
                    COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
      Case 2:19-cv-07053-MWF-FFM Document 1-1 Filed 08/13/19 Page 7 of 61 Page ID #:17
i.)




         1           12.   Venue is proper in this Court pursuant to California Code of Civil

         2   Procedure § 395 because (a) some of the acts and transactions described herein

         3   occurred within this county, including Plaintiffs employment with Defendants, the

         4   sexual assault of Plaintiff, the resulting “investigation,” and ultimate termination of

         5   Plaintiff; (b) some Defendants are or were registered to do business in the State of

         6   California and/or are or were doing business within this county; and (c) Defendants

         7   did do business in this county by operating and/or exercising complete control over

         8   the operations of the company formerly known as Tinder, Inc.

         9                 IV.   FACTS COMMON TO ALL CAUSES OF ACTION

        10   A.      Defendant Blatt’s Sexual Assault of Plaintiff

        11           13.    In December 2016, Plaintiff was the longest standing (and one of the

        12   only) female executives at Tinder. Plaintiff held the executive position of Vice

        13   President of Global Communications and Brand. Her role eventually expanded to

        14   Head of Marketing and Communications, managing an in-house group of more than

        15   40 people, as well as external agencies and consultants. Publicly, she served as the

        16    face of the brand on panels and in the press.

        17           14.    During all events described herein. Defendant Blatt was the CEO and

        18    Chairman of Match Group, as well as the CEO of Tinder, and directly in charge of

        19    Plaintiff.
        20           15.    On December 9, 2016, Tinder held its holiday party at the SLS Hotel in

        21    Beverly Hills Hotel, in Los Angeles, California. Plaintiff attended the party. Several

        22    Tinder employees had rooms at the hotel, paid for by Tinder, including Witness No.

        23    1, Defendant Blatt’s Executive Assistant.

        24           16.    At the party. Defendant Blatt approached Plaintiff and said to her in a

        25    lewd voice, in sum and substance, “I get hard every time I look at you” and “Let s get

        26    out of here.” Plaintiff was stunned.   Defendant Blatt’s conduct was so aggressive

        27    that Plaintiff feared that Defendant Blatt might actually act on it. Plaintiff quickly

        28
                                                          4
                            COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
     Case 2:19-cv-07053-MWF-FFM Document 1-1 Filed 08/13/19 Page 8 of 61 Page ID #:18
•I




        1   walked away from Defendant Blatt, found a colleague and close friend, Witness No.

        2   2, and went upstairs to friend and colleague. Witness No. 1 ’s hotel room, in an

        3   attempt to distance herself from Defendant Blatt.
        4          17.   Plaintiff, Witness No. 1 and Witness No. 2, were upstairs in Witness No.

        5   1 ’s hotel room at approximately 2:00 AM when. Defendant Blatt texted Witness No.

        6   1. Plaintiff asked Witness No. 1 not to tell Defendant Blatt where they were. Several

        7   minutes later, there was a knock at the door. Witness No. 1 answered the door and

        8   Plaintiff saw that Defendant Blatt had arrived at the room. When Defendant Blatt

        9   arrived. Plaintiff was sitting on the bed.
       10          18.   Immediately upon entering the room. Defendant Blatt went straight for

       11   Plaintiff who was sitting on the bed. Defendant Blatt climbed on top of Plaintiff and

       12   pulled her backwards so that Plaintiff was lying beside him with his arm draped over

       13   Plaintiff. Defendant Blatt then began forcibly groping Plaintiffs breasts and upper

       14   thighs, and kissing her shoulders, neck and chest—all without Plaintiffs consent.

       15   Then, Defendant Blatt said, sum and substance, “Turn off the lights.” In a state of

       16   shock and disbelief. Plaintiff was also acutely aware of the subordinates in the room,

       17   and made the decision to de-escalate the situation and not cause a further scene.

       18   Plaintiff began to pull away from Defendant Blatt and said, in sum and substance,

       19   “Ok, we are all hungry; I’m going to order food.” Defendant Blatt then removed his

       20    hands from Plaintiff enabling her to stand up.

       21          19.    Plaintiff, Defendant Blatt, Witness No. 1 and Witness No. 2 remained in

       22    Witness No. 1 ’s room waiting for the food to arrive. At some point after the food

       23    was ordered. Defendant Blatt again pushed Plaintiff onto the bed and began groping

       24    her and attempting to kiss her. While again attempting to end Defendant Blatt’s

       25    unwanted sexual contact and remove herself from his immediate proximity. Plaintiff

       26    announced it was time to leave. Witness No. 1, begged Plaintiff not to leave her

       27    alone with Defendant Blatt. Plaintiff and Witness No. 2 waited until Defendant Blatt

       28
                                                         5
                          COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
Case 2:19-cv-07053-MWF-FFM Document 1-1 Filed 08/13/19 Page 9 of 61 Page ID #:19




   1   left in his car service to request separate Ubers and went to the lobby to await their

   2   respective rides.
   3   B.       The Aftermath of Blatt’s Assault
   4            20.   Defendant Blatt was the CEO of Tinder, the Chairman and CEO of

   5   Match Group, and Plaintiffs boss. Plaintiff knew that Defendant Blatt was a

   6   powerful man, a long-time executive at Match Group and lAC, and feared retaliation

   7   and the loss of her job at Tinder. Plaintiffs fears were based on Defendant Blatf s

   8   reputation for openly behaving inappropriately toward women without any

   9   consequences. Defendant Blatt seemed untouchable.

  10            21.   Plaintiff feared damage to her reputation and a change in how she would

  11   be perceived by her subordinates and colleagues if her assault were made public.

  12   Plaintiff also feared damage to Tinder’s business, which she had worked years to

  13   build.
  14            22.   The morning after the sexual assault. Plaintiff asked Witness No. 1 and

  15   Witness No. 2 not to share what had happened with anyone.

  16            23.   Two days after the assault. Defendant Blatt called Plaintiff into his

  17   office and apologized profusely for his actions the night of the holiday party. Faced

  18   with the reality that she would have to continue to work with and be supervised by

  19   Defendant Blatt—^the new CEO of Tinder—and scared of the consequences to her

  20    working relationships and reputation if the sexual assault were made public. Plaintiff

  21    and Defendant Blatt agreed to quash the incident and not to speak of it again.

  22    C.      Plaintiff Reported the Assault to Her Supervisor

  23            24.    Several days after the sexual assault. Plaintiff attended a Tinder/Match

  24    Communications Team Dinner. Also present was Vice President of Public Affairs

  25    for Match Group, Matt David, to whom Plaintiff also reported. At all times relevant

  26    herein, Mr. David reported directly to Defendant Blatt.

  27
  28
                                                     6
                      COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
     Case 2:19-cv-07053-MWF-FFM Document 1-1 Filed 08/13/19 Page 10 of 61 Page ID #:20
it




         1         25.    During this dinner, Plaintiff told Mr. David about the sexual assault.

         2   Plaintiff felt that it was necessary to report Defendant Blatt’s actions to Mr. David

         3   both because Defendant Blatt’s actions were unacceptable and because she feared a

         4   potential public relations crisis as there were witnesses to the assault.

         5         26.    In response, Mr. David said nothing. However, Mr. David’s expression

         6   was one of shock.
         7         27.    On information and belief, rather than comply with the obligations

         8   placed on him to report any such complaints to Human Resources, Mr. David did not

         9   report Defendant Blatt’s misconduct to Human Resources.
        10   D.    The Company Defendants’ Inadequate and Biased “Investigation”

        11         Amounts to a Cover-Up of Defendant Blatt’s Misconduct

        12          28.   On information and belief, Sean Rad, former Tinder CEO and then-

        13   Tinder Chairman, began hearing rumors of Defendant Blatt’s disturbing behavior

        14   toward Plaintiff at the Holiday Party from multiple sources, including indirectly from

        15   Witness No. 1. Mr. Rad took Plaintiff aside, told her that he heard something

        16   happened at the holiday party, and asked her if there was anything she wanted to tell

        17   him. Plaintiff relayed to Mr. Rad what Defendant Blatt said to her at the holiday

        18   party and how he assaulted her in Witness No. 1 ’s hotel room.

        19          29.    On information and belief, Mr. Rad reported Defendant Blatt’s sexual

        20   assault of Plaintiff to Gregg Winiarski, Executive Vice President and General

        21   Counsel of lAC, Joey Levin, CEO of lAC, and Jared Sine, Chief Legal Officer of

        22   Match Group. On information and belief, Mr. Rad also discussed the incident with

        23   Lisa Nelson, Chief Human Resources Officer at Match Group and Tinder. On

        24   information and belief, Ms. Nelson told Mr. Rad that she was contemplating quitting

        25   her job because of Defendant Blatt’s alleged behavior. On information and belief,

        26   Mr. Rad thereafter learned that there would be an investigation and that Mr. Sine and

        27
        28
                                                  7
                           COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
Case 2:19-cv-07053-MWF-FFM Document 1-1 Filed 08/13/19 Page 11 of 61 Page ID #:21




    1   Ms. Nelson would be running it. Both of these individuals reported directly to
    2   Defendant Blatt.
    3         30.      On information and belief, Mr. Rad expressed his fears that the
    4   investigation was biased, because two executives who reported directly to Defendant
    5   Blatt, the subject of the investigation, were in fact in charge, but his concerns fell on

    6   deaf ears.
    7         31.      On information and belief, after Mr. Rad reported Defendant Blatt’s

    8   assault, Mr. Rad started receiving threats from Match executives that if he did not

    9   stop pursuing the investigation into Defendant Blatt’s misconduct he would face

   10   retribution.
   11          32.     Mr. Rad pressed Tinder and Match Board members for a meeting of

   12   Tinder’s Board of Directors to discuss Defendant Blatt’s assault on Plaintiff, to no

   13   avail. On information and belief. Defendant Blatt emailed the board members and
   14   discouraged them from speaking to Mr. Rad.
   15          33.     On information and belief. Matt Cohler, a General Partner of

   16   Benchmark and then-Tinder Board member, told Mr. Rad that there was no reason

   17   for a board meeting, and that the Tinder Board could not do anything until Plaintiff

   18   formally “reported” the assault—notwithstanding the fact that she already had

   19   reported it to her direct supervisor (Mr. David) and Tinder’s Chairman (Rad).

   20          34.     On information and belief, Mr. Rad spoke with a then-Match Board

   21   member, to express concern about the way Plaintiffs complaint was being handled.

   22   Consistent with their corporate culture emphasizing profit over people, the Match

   23   Board Member assured Mr. Rad he had nothing to worry about because, in sum and

   24   substance, “everyone [was] going to make a lot of money.”

   25          35.     On information and belief, the Tinder Board of Directors was never

   26   convened regarding Defendant Blatf s sexual assault of Plaintiff.

   27
   28
                                                     8
                       COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
Case 2:19-cv-07053-MWF-FFM Document 1-1 Filed 08/13/19 Page 12 of 61 Page ID #:22




    1         36.    On April 28, 2017 - which, on information and belief, was

    2   approximately one day after Mr. Rad reported Defendant Blatt’s sexual assault of

    3   Plaintiff to Defendants lAC and Match Group executives - Defendant Blatt exercised

    4   approximately 5 million stock options in Match Group, realizing over $44 million in

    5   value. The questionable timing of this transaction cannot be ignored, given the affect

    6   a scandal of this magnitude could have on Match Group’s stock price if made public.

    7         37.    On or about April 30, 2017, Plaintiff was approached by Lisa Nelson,

    8   Chief Human Resources Officer to discuss the sexual assault. Plaintiff was leery of

    9   speaking with Ms. Nelson, as Plaintiff was aware that Ms. Nelson was very closely

   10   linked to Defendant Blatt, having worked with him for many years, and that she

   11   reported directly to him.
   12         38.    Plaintiff told Ms. Nelson that she was reluctant to talk with her and

   13   wanted to ensure confidentiality out of fear of retaliation by Defendants. Only after

   14   Ms. Nelson assured Plaintiff of the confidentiality of her statements did Plaintiff

   15   agree to speak to Ms. Nelson.
   16         39.    When Plaintiff met with Ms. Nelson, Jared Sine, Chief Legal Officer at

   17   Match, was also present. Plaintiff confirmed the sexual assault.

   18         40.    On May 3, 2017, Plaintiff was asked to meet with Ed Ferguson, Vice

   19   President and Associate General Counsel at lAC, and Mr. Sine. During this meeting.

   20   Plaintiff again recounted Defendant Blatf s assault. Mr. Ferguson told Plaintiff that

   21   they had spoken to Defendant Blatt and he had insinuated that it was consensual. In

   22   response. Plaintiff told the men that Defendant Blatt had approached her earlier at the

   23   Holiday Party and said, “I get hard every time I look at you,” and “Let’s get out of

   24   here.” She explained that she immediately walked away embarrassed, stunned, and

   25   concerned that he might actually try to act on it. Both Mr. Ferguson and Mr. Sine

   26   expressed shock and were appalled by Defendant Blatt’s actions. Both apologized to

   27   Plaintiff for having to endure such an incident.

   28
                                                    9
                     COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
Case 2:19-cv-07053-MWF-FFM Document 1-1 Filed 08/13/19 Page 13 of 61 Page ID #:23




    1         41.   Just one day following her meeting with Mr. Sine and Mr. Ferguson,
   2    despite assurances of confidentiality and privacy, Defendant Blatt emailed Plaintiff

   3    and his Executive Assistant, Witness No. 1, asking both women to participate in

   4    separate video conferences with him. Plaintiff knew in that moment that Defendants’

    5   promise of confidentiality had been violated and that information was going from

    6   Human Resources and Defendants lAC and Match Group’s Legal Counsel to

    7   Defendant Blatt.
    8         42.    Plaintiff did not respond to Defendant Blatt’s email and did not attend

    9   the video conference, but, upon information and belief. Witness No. 1 did. After the

   10   video conference. Witness No. 1 group-texted Plaintiff and Chief Human Resources

   11   Officer Lisa Nelson and told them, in sum and substance, that Defendant Blatt knew

   12   everything that they had said to Ms. Nelson and Mr. Sine. During a phone

   13   conversation later that day. Witness No. 1 told Plaintiff that Defendant Blatt had

   14   begged her not to continue cooperating in the investigation as it would ruin his life

   15   and his family.
   16         43.    After talking with Witness No. 1, Plaintiff responded to the group text

   17   that she did not feel comfortable talking further about what happened until she

   18   consulted with a lawyer. Ms. Nelson responded that she understood. After this text.

   19   Plaintiff was no longer contacted as part of the “investigation.”

   20         44.    The purported “investigation” Company Defendants conducted did not

   21   comply with either California law or their own internal policies. The Company

   22   Defendants used the investigation as an attempt to cover-up and conceal the

   23   misconduct of Defendant Blatt.

   24         45.    For example. Defendants’ purported “investigators” failed to interview

   25   one of the two eyewitnesses to the sexual assault. Witness No. 2. Instead, among

   26   those two eyewitnesses. Defendants only interviewed Witness No. 1 — Defendant

   27   Blatt’s Executive Assistant. As Witness No. 2 was present in the room, and

   28
                                                   10
                     COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
Case 2:19-cv-07053-MWF-FFM Document 1-1 Filed 08/13/19 Page 14 of 61 Page ID #:24




    1   witnessed the assault, no adequate investigation could be conducted without

   2    interviewing Witness No. 2. Furthermore, while the purported “investigation” was

    3   ongoing. Defendants required Plaintiff to continue to report to Defendant Blatt. The

   4    Company Defendants also told Defendant Blatt information provided by Plaintiff and

    5   other witnesses, violating promises of confidentiality.

    6         46.    In or around July 2017, a reporter from Tech Crunch began asking

    7   Plaintiff questions about rumors of sexual misconduct at Tinder by high-level Match

    8   Group executives. A few months later. Plaintiff learned that the same reporter was

    9   still investigating, and that the story was about Plaintiffs own assault at the hands of

   10   Defendant Blatt.
   11         47.    Plaintiff informed Defendant Blatt and Chief Human Resources Officer,

   12   Ms. Nelson, about the reporter’s inquiry. Defendant Blatt, Plaintiff s own

   13   perpetrator, asked Plaintiff to talk with the reporter to explain the ways Tinder

   14   combats sexual harassment, and to throw the reporter off the story. Plaintiff refused

   15   to comply with Blatf s instruction, and referred the reporter to the Head of

   16   Communications at lAC.
   17         48.    In or around October 2017, when it became apparent that Defendant

   18   Blatt and Company Defendants could no longer get Plaintiff to say or do whatever

   19   Defendants needed or wanted to cover-up the assault, they asked Plaintiff to sign a

   20   non-disclosure/disparagement agreement (“NDA”) concerning the sexual assault and

   21   investigation, in exchange for increased compensation. Chief Human Resources

   22   Officer at Match Group and Tinder, Lisa Nelson, approached Plaintiff and said in

   23   sum and substance that she and Defendant Blatt would petition the Compensation

   24   Committee to increase Plaintiffs compensation if she signed the NDA. During that

   25   conversation, Ms. Nelson said to Plaintiff, in sum and substance, “We want to put

   26   this terrible ordeal behind us.” Plaintiff declined to sign.

   27
   28
                                                    11
                     COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
Case 2:19-cv-07053-MWF-FFM Document 1-1 Filed 08/13/19 Page 15 of 61 Page ID #:25




    1          49.   After declining to sign the NDA, Plaintiff became aware that Defendant

    2   Blatt was going to resign as Tinder CEO. During a conversation with Plaintiff,

    3   Defendant Blatt, and another male executive, the male executive asked Defendant

    4   Blatt what it would take to get Defendant Blatt to stay. Defendant Blatt turned to

    5   Plaintiff and said in sum and substance, “Well, you would have to sign something.”

    6   Defendant Blatt immediately walked it back, saying in sum and substance to Plaintiff,

    7   “Never mind, I shouldn’t have said that, I could get in big trouble.” It was then clear

    8   that Defendant Blatt was being asked to resign because of his sexual assault of

    9   Plaintiff.
   10          50.   Upon information and belief, even after resigning. Defendant Blatt

   11   retained his Tinder and Match Group email accounts, worked from the lAC Office

   12   for several months, and appeared actively involved in Defendants lAC and Match

   13   Group’s business. Defendant Blatt also continued to “check in” on Plaintiff to ensure

   14   she would not speak out publicly.
   15          51.   Through their actions and inaction. Company Defendants violated their

   16   own internal policies. lAC and Match Group’s stated policy is to be “good corporate

   17   citizen(s)” and “committed to full, prompt, and fair enforcement” of their Code of

   18   Ethics. The Code of Ethics states that, upon reporting of a violation of the Code of

   19   Ethics, lAC and Match Group legal departments shall investigate all relevant facts.

   20   lAC and Match Group’s Code of Ethics also specifically prohibits retaliation.

   21          52.   Pursuant to the Code of Ethics, “In conducting and monitoring

   22   investigations, the lAC Legal Department shall consult and coordinate as appropriate

   23   with senior management, the Internal Audit Department, the Human Resources

   24   Department, and the Audit Committee, and shall seek to ensure that the provisions of

   25   the Code of Ethics are applied and enforced consistently across the population of

   26   covered persons and across lAC business.” Match Group’s Code of Ethics has this

   27   identical provision.

   28
                                                   12
                     COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
Case 2:19-cv-07053-MWF-FFM Document 1-1 Filed 08/13/19 Page 16 of 61 Page ID #:26




    1         53.    lAC and Match Group also have a stated policy against harassment.

    2   Pursuant to this policy, “It is the policy of lAC/InterActiveCorp and its Operating

    3   Businesses and Corporate Office ... to be committed to a workplace free of

    4   discrimination or harassment. Harassment of applicants or employees on the basis of

    5   ... sex, including sexual harassment, is unacceptable and will not be tolerated.”

    6         54.    LAC and Match Group’s Policy defines sexual harassment as “offensive

    7   or unwelcome sexual advances, verbal comments or innuendo of a sexual nature. . . .

    8   Comments, physical touching of another person . .. may also constitute sexual

    9   harassment.” Pursuant to this policy, “Human Resources will investigate all reports

   10   of harassment promptly and thoroughly.”
   11         55.    All of these policy statements turned out to be false and misleading.

   12         56.    The Company Defendants disregarded their stated policies when the

   13   allegations were against CEO Defendant Blatt. Instead, they engaged in a sham

   14   investigation conducted by biased executives in an effort to conceal and discredit the

   15   sexual assault suffered by Plaintiff.   Only when faced with the fact that they could

   16   no longer keep the assault quiet, did the Company Defendants take any action. ■

   17         57.    The Company Defendants were willful, wanton, reckless, negligent in

   18   overseeing and supervising and grossly negligent as a result of its employee, agent

   19   and/or servant’s acts as follows:

   20                a. In failing to supervise and control Defendant Blatt’s sexual

   21                    misconduct;

   22                b. In failing to conduct an unbiased, independent, prompt, and legally
   23                    compliant investigation;
   24
                     c. In retaining Defendant Blatt as CEO for approximately 10 months
   25
                         after he assaulted Plaintiff;
   26
                     d. In failing to use ordinary skill and care to protect Plaintiff; and
   27
   28
                                                     13
                     COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
Case 2:19-cv-07053-MWF-FFM Document 1-1 Filed 08/13/19 Page 17 of 61 Page ID #:27




                       (
    1                      e. In such other ways as will become evident during discovery.

   2             58.       The Company Defendants’ knowing acquiescence and silence with
    3   respect to the known, or reasonably knowable, activities of Defendant Blatt
    4   constituted a course of conduct through which Defendant Blatt’s sexual assault of,
    5   and retaliation against. Plaintiff was condoned, approved and authorized. The
    6   Company Defendants’ actions made clear that, but for the reporters learning of the
    7   assault, the Company Defendants would have taken no action against Defendant
    8   Blatt.
    9            59.       Through the Company Defendants’ failure to timely investigate
   10   Plaintiffs complaint and/or reprimand and sanction the acts referenced herein, and
   11   for all of the other reasons set forth in this Complaint including, without limitation,
   12   their failure to take the steps necessary to prevent and/or independently investigate
   13   the occurrence of such reprehensible acts, the Company Defendants ratified said
   14   actions and, accordingly, are vicariously liable for the actions of Defendant Blatt.
   15   E.       Plaintiffs Retaliatory and Wrongful Termination
   16            60.       On August 14, 2018, Plaintiff filed a lawsuit with several others
   17   regarding the valuation of her stock options, alleging in part that when Plaintiffs
   18   assault was reported to Defendants lAC and Match Group executives, they failed to
   19   properly investigate and take timely corrective action against Defendant Blatt. The
   20   suit alleged that the Company Defendants failed to act because they needed
   21   Defendant Blatt, whom as CEO and the highest-ranking executive in charge of the
   22   valuation process of Tinder, was the lynchpin in Company Defendants’ scheme to
   23   undervalue Tinder and decrease the amount Plaintiff and her fellow Tinder stock
   24   holders would receive in exercising their stock options by billions of dollars.
   25            61.       The next day, the Company Defendants placed Plaintiff on “leave.”
   26            62.       The Company Defendants immediately revoked Plaintiffs email
   27   account- forcing incoming emails to bounce back to the sender—removed her
   28
                                                         14
                           COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
Case 2:19-cv-07053-MWF-FFM Document 1-1 Filed 08/13/19 Page 18 of 61 Page ID #:28




    1   nameplate from her office door, and turned her office into a conference room. Within

    2   one month, and three months before officially terminating Plaintiff, the Company

    3   Defendants hired a new Chief Marketing Officer to replace her.

    4         63.    On December 18, 2018, Plaintiff received notice via e-mail that Tinder

    5   was terminating her employment. Upon information and belief. Defendants

    6   terminated Plaintiff in retaliation for speaking out against Defendant Blatt for his

    7   sexual misconduct and for participating in a lawsuit against the Company Defendants

    8   related to her stock options.
    9         64.    As a result of these actions. Plaintiff was forced to surrender millions of

   10   dollars in equity granted to her as compensation for her work as an executive at

   11   Tinder.
   12   F.    The Company Defendants Fostered a Misogynistic Work Culture^that

   13         Promoted Sexual Harassment and Assault

   14         65.    The Company Defendants'promoted a misogynistic culture where

   15   female employees were marginalized and' sexually harassed on a regular basis. From

   16   the time that Defendant Blatt and other Company Defendants’ executives arrived

   17   from Match Group at Tinder, it became clear that their corporate culture and

   18   managerial style was not respectful towards women, including Plaintiff.

   19          66.   After Defendant Blatt arrived, he quickly made it difficult for Plaintiff to

   20   do her job effectively. Because she was a young woman. Defendant Blatt treated

   21   Plaintiff differently than other executives. Despite her experience and track record as

   22   a successful marketing executive. Defendant Blatt did not take Plaintiff seriously.

   23   On more than one occasion when Plaintiff disagreed with him and/or addressed

   24   Defendant Blatt in a professional tone in meetings. Defendant Blatt responded by

   25   asking Plaintiff to leave the meetings and come back “when [her] attitude changed.”

   26          67.    On another Occasion, Plaintiff was told by a fellow marketing executive,

   27   that when he asked Defendant Blatt about a budget for activities to boost the

   28
                                                    15
                      COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
Case 2:19-cv-07053-MWF-FFM Document 1-1 Filed 08/13/19 Page 19 of 61 Page ID #:29




    1   marketing team’s morale, Defendant Blatt said: Plaintiff and two of her female team

    2   members “were the team morale,” because in his view “they were hot.” The male

    3   executives then joked about how one of the women did not count “because she had

    4   peaked” and “wasn’t getting any prettier, so she needed to get married tomorrow.”

    5   This is but one example of how Defendant Blatt objectified women in his employ and

    6   spread a misogynistic work culture, which promoted sexual harassment and assault.

    7         68.    Out of a sense of responsibility to protect the company she had helped

    8   build. Plaintiff fought against Match Group’s misogynistic culture, to her detriment.

    9   Behind the scenes Plaintiff fought for equal pay for the women on her team who were

   10   grossly underpaid compared to male counterparts, asked for an official pay audit to

   11   be conducted, promoted women to titles equal to male counterparts, advocated for the

   12   company to cover egg-freezing for its female employees, advocated for a more

   13   female centric approach to product development, and asked for an anonymous

   14   reporting tool be implemented by Human Resources for reporting complaints of,

   15   sexual harassment within the company. Her efforts to advance women’s rights ..

   16   within the company and on the platform were so contrary to Defendants’ cultureThat

   17   they led to threats of violence and a covert smear campaign on Twitter by one male

   18   employee. In yet another example of how Defendants marginalized Plaintiff and

   19   emphasized profit over people, when they discovered the male employee who was

   20   responsible for a smear campaign and threats against Plaintiff, Defendants allowed

   21   him to quietly resign, rather than fire him and risk a scandal.

   22         69.    As a direct and proximate result of the foregoing. Plaintiff has suffered,

   23   and continues to suffer, severe emotional distress. Plaintiff has suffered, and

   24   continues to suffer great pain of mind and body, shock, emotional distress, physical

   25   manifestations of emotional distress, embarrassment, loss of self-esteem, disgrace,

   26   humiliation and loss of enjoyment of life; was prevented and will continue to be

   27   prevented from performing Plaintiffs daily activities and obtaining the full

   28
                                                    16
                     COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
Case 2:19-cv-07053-MWF-FFM Document 1-1 Filed 08/13/19 Page 20 of 61 Page ID #:30




    1   enjoyment of life; and/or has suffered a loss of income and/or loss of earning
    2   capacity.
    3         70.    Defendants and each of them, engaged in the conduct alleged herein

    4   with malice, oppression, and fraud. The conduct of Defendants, and each of them,

    5   was despicable and was done with a willful and knowing disregard of the rights or

    6   safety of Plaintiff. Defendants, and each of them, knew that Defendant Blatt engaged

    7   in sexual misconduct against Plaintiff, yet they continued to retain him as CEO and

    8   allowed him to retaliate against Plaintiff. Defendants’ conduct was despicable and

    9   subjected Plaintiff to cruel and unjust hardship in knowing disregard of her rights.

   10   Their conduct was so vile, base, and contemptible that it would be looked down on

   11   and despised by reasonable people. Defendants intentionally conducted a biased ^

   12   “investigation” of Defendant Blatt’s sexual assault of Plaintiff with reckless       A

   13   indifference toward Plaintiffs health, safety, and emotional well-being. Defendants’
   14   conduct alleged herein is outrageous and so extreme that it goes beyond all possible

   15   bounds of decency. A reasonable person would regard the conduct of Defendants as

   16   intolerable in a civilized community.
   17   V.    CAUSES OF ACTION
   18                               FIRST CAUSE OF ACTION

   19                    (AGAINST DEFENDANTS MATCH AND lAC)

   20                                           Negligence

   21         71.    Plaintiff incorporates herein by reference, as though set forth in full, all

   22   proceeding Paragraphs of this Complaint.
   23          72.   Prior to the incidents. Defendants Match Group and lAC, and each of

   24   them, expressly and implicitly warranted to Plaintiff that Defendants, in the event of

   25   a sexual assault at the Company, would provide a thorough and unbiased

   26   investigation and take immediate action to address such an occurrence.

   27
   28
                                                    17
                     COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
Case 2:19-cv-07053-MWF-FFM Document 1-1 Filed 08/13/19 Page 21 of 61 Page ID #:31




    1         73.    At all relevant times herein Defendant Blatt, while in the course and
    2   scope of his employment with Company Defendants, intended to cause harmful or
    3   offensive contact with intimate parts of Plaintiff, and sexually offensive contact with

    4   Plaintiff directly and indirectly resulted therefrom.
    5         74.    At all relevant times herein. Defendant Blatt, while in the course and

    6   scope of his employment with Company Defendants, acted to cause Plaintiff to be in
    7   imminent apprehension of sexually offensive contact, and sexually offensive contact

    8   with Plaintiff directly and indirectly resulted therefrom.

    9         75.    The Company Defendants owed to the public in general, and to Plaintiff

   10   in particular, a duty to reasonably and promptly identify, remove, and/or report to law

   11   enforcement authorities and/or to government agencies individuals who it knew, or

   12   should have known, were sexual predators in its employ. The Company Defendants

   13   owed to the public in general, and to Plaintiff in particular, a duty to reasonably-^

   14   supervise and/or monitor individuals who it knew, or should have known, were-

   15   sexual predators in its employ. The Company Defendants owed to Plaintiff a duty to

   16   control the acts of their agents, servants, and/or employees.                       •   t




   17          76.   The acts and omissions of The Company Defendants complained of

   18   herein constitute negligent and reckless hiring, training, supervision, and retention of

   19   Defendant Blatt. It was foreseeable that if the Company Defendants did not

   20   adequately exercise or provide the duty of care owed to female employees in their

   21   care. including, but not limited to Plaintiff, they would be vulnerable to sexual
   22   misconduct by Defendant Blatt. Based on the acts alleged above. The Company

   23   Defendants knew, or should have known, that their failure to exercise due care

   24   toward Plaintiff would, and did, cause Plaintiff severe emotional distress.

   25          77.   The Company Defendants did not have in place or failed to enforce

   26   adequate, reasonable, and necessary rules, regulations, policies, and procedures that

   27   could effectively identify, and deal with sexual predators such as Defendant Blatt.

   28
                                                    18
                     COMPLAmT FOR DAMAGES AND DEMAND FOR JURY TRIAL
Case 2:19-cv-07053-MWF-FFM Document 1-1 Filed 08/13/19 Page 22 of 61 Page ID #:32




    1   The Company Defendants did not have in place adequate, reasonable, and necessary

    2   rules, regulations, policies, and procedures for the prompt removal of sexual

    3   predators in the employ and/or service of the Company Defendants.
    4         78.    The Company Defendants failed to fulfill their legal duty to protect

    5   Plaintiff from the sexual misconduct of Defendant Blatt and the ensuing retaliatory

    6   treatment. These failures included the following: (a) failure to reasonably and

    7   investigate allegations of sexual misconduct; (b) failure to properly train and instruct

    8   investigators; (c) failure to have in place and enforce standards of acceptable and

    9   unacceptable conduct; and (d) failure to designate competent investigators to evaluate

   10   complaints of sexual misconduct.
   11         79.    Moreover, the negligent, reckless, outrageous, deliberately and

   12   recklessly indifferent and unlawful conduct of the Company Defendants, as set|brth

   13   above and herein, further consisted of:                                           t.s-


   14                a. failing to properly and adequately supervise and discipline thei]^

   15                   employees to prevent the improper touching that occurred to

   16                   Plaintiff;
   17                b. failing to adopt, enforce and/or follow adequate policies and

   18                   procedures for the protection and reasonable supervision of female

   19                   employees, including Plaintiff, and, in the alternative, failing to

   20                    implement and comply with such procedures which had been

   21                    adopted;
   22                c. failing to implement, enforce and/or follow adequate protective and

   23                    supervisory measures for the protection of female employees,

   24                    including Plaintiff;

   25                d. creating an environment that facilitated improper touching by

   26                    Deferidant Blatt on Plaintiff;

   27
   28
                                                    19
                     COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
Case 2:19-cv-07053-MWF-FFM Document 1-1 Filed 08/13/19 Page 23 of 61 Page ID #:33




    1                e. violating their own policies and/or by-laws regarding sexual

    2                   misconduct by employees and executive;

    3                f. ignoring, concealing, or otherwise mitigating the seriousness of the

    4                   assault perpetrated by Defendant Blatt;

    5                g. failing to properly supervise and/or discipline their employees; and

    6                h. failing to adequately and properly train their employees regarding

    7                   sexual misconduct.

    8         80.    The Company Defendants had a policy to independently investigate

    9   sexual assault/harassment, explicitly and/or implicitly represented to Plaintiff.

   10         81.    The Company Defendants made these explicit and implied

   11   representations knowing that they were false and/or having reason to believe that they

   12   were false, and with the expectation that they would be relied upon by female m-

   13   employees who decided to work at for The Company Defendants.

   14         82.    The Company Defendants did not have in place adequate, reasonable,

   15   and necessary rules, regulations, policies, and procedures with respect to the removal

   16   and/or supervision of individuals in its employ or service who were suspected of

   17   being sexual predators.                  ■ '    -

   18         83.    The Company Defendants failed to reasonably supervise and/or monitor

   19   individuals who it knew, or should have known, were sexual predators in their

   20   service and employ.
   21          84.   The Company Defendants further breached their duty of care to Plaintiff

   22   by failing to protect the Plaintiff from foreseeable harm from the sexual misconduct

   23   of an employee of Defendants.

   24          85.   The Company Defendants ratified the improper touching and harassment

   25   committed by Defendant Blatt by continuing to employ him and allowing him to be

   26   in charge of female employees including Plaintiff, after having actual knowledge that

   27   Defendant Blatt had improperly touched and harassed Plaintiff.

   28
                                                       20
                     COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
Case 2:19-cv-07053-MWF-FFM Document 1-1 Filed 08/13/19 Page 24 of 61 Page ID #:34




    1         86.    Plaintiff is informed and believes and thereon alleges that she will

    2   continue to suffer extreme mental, physical, and pain and suffering in the future as a

    3   result of the injuries alleged herein.
    4                               SECOND CAUSE OF ACTION

    5                              (AGAINST ALL DEFENDANTS)

    6                        Intentional Infliction of Emotional Distress

    7          87.   Plaintiff incorporates herein by reference, as though set forth in full, all

    8   preceding Paragraphs of this Complaint.
    9          88.   As described above, without Plaintiffs consent, the Company

   10   Defendant’ employee and CEO Defendant Blatt engaged in unlawful, sexual

   11   misconduct and harassment against Plaintiff.

   12          89.    Defendant Blatf s sexual misconduct conduct was outrageous andihe

   13   acted with reckless disregard for the probability that Plaintiff would suffer emotional

   14   distress as a result of his actions.                                                v
   15          90.    The Company Defendants allowed, adopted, approved, aided, abetted,

   16   and ratified the behavior of the Defendant Blatt by allowing him to continue to.have

   17   female employees including Plaintiff report to him knowing that he had a history of

   18   sexual misconduct, including improperly touching and harassing female employees.

   19          91.    The Company Defendants employed defendant Blatt. The Company

   20   Defendants failed to adequately and promptly investigate and discipline Defendant

   21   Blatt. By allowing Defendant Blatt to continue as the CEO after each of the

   22   aforementioned incidents and failing to adequately and promptly investigate and

   23   discipline him. Defendants approved, aided and abetted, adopted, and ratified

   24   Defendant Blatf s sexual misconduct.

   25          92.    Plaintiff is informed and believes and thereon alleges that she will

   26   continue to suffer extreme mental, physical, and pain and suffering in the future as a

   27   result of the injuries alleged herein.

   28
                                                    21
                      COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
Case 2:19-cv-07053-MWF-FFM Document 1-1 Filed 08/13/19 Page 25 of 61 Page ID #:35




    1         93.      As a further proximate result, Plaintiff has been damaged in that she has
    2   been required to expend money and incur obligations for medical services, drugs, and
    3   sundries reasonably required in the treatment and relief of the injuries alleged

    4   according to proof. As a further proximate result. Plaintiff will continue to incur

    5   medical and related expenses.
    6         94.      The acts of Company Defendants alleged above were willful, wanton,

    7   malicious, oppressive, fraudulent, despicable, and outrageous and justify the

    8   awarding of exemplary and punitive damages.
    9                                 THIRD CAUSE OF ACTION

   10                             (AGAINST DEFENDANT BLATT)

   11                                         Sexual Battery
   12         95.      Plaintiff incorporates herein by reference, as though set forth in full} all

   13   preceding Paragraphs of this Complaint.
   14         96.      As described above,. Defendant Blatt, without Plaintiffs consent,

   15   engaged in sexual misconduct, including sexual assault, against Plaintiff, all witlj the

   16   intent of sexual arousal in violation of Civil Code § 1708.5 and Penal Code §

   17   243.4(e)(1).
   18         97.      Plaintiff is informed and believes and thereon alleges that she will

   19   continue to suffer extreme mental, physical, and pain and suffering in the future as a

   20   result of the injuries alleged herein.
   21         98.      The acts of Defendant Blatt alleged above were willful, wanton,

   22   malicious, oppressive, fraudulent, despicable, and outrageous and justify the

   23   awarding of exemplary and punitive damages.

   24
   25
   26
   27
   28
                                             22
                       COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
Case 2:19-cv-07053-MWF-FFM Document 1-1 Filed 08/13/19 Page 26 of 61 Page ID #:36




    1                              FOURTH CAUSE OF ACTION
    2                            (AGAINST DEFENDANT BLATT)

    3                                         Gender Violence

    4                         Violation of California Civil Code § 52.4

    5         99.    Plaintiff incorporates herein by reference, as though set forth in full, all

    6   preceding Paragraphs of this Complaint.
    7         100. As described above. Defendant Blatt committed gender violence on

    8   Plaintiff, which constituted criminal offenses under California law, including Penal

    9   Code § 243.4, sexual battery, which includes the use, attempted use, or threatened use

   10   of physical force against a person.
   11         101. These crimes are at least in part based on the gender of Plaintiff

   12         102. Defendant Blatt caused a physical intrusion or a physical invasion,of a

   13   sexual nature under coercive conditions to Plaintiffs person in that Plaintiff was-

   14   improperly touched by Defendant Blatt, all without Plaintiffs consent.

   15          103. The acts of violence as alleged above were directed at Plaintiff because

   16   she is a woman. These acts were intended to humiliate and degrade Plaintiff because

   17   she is a woman. These acts robbed Plaintiff of her dignity.

   18          104. Plaintiff is informed and believes and thereon alleges that she will

   19   continue to suffer extreme mental, physical, and pain and suffering in the future as a

   20   result of the injuries alleged herein.
   21          105. Defendant Blatt’s aforementioned conduct was accomplished

   22   intentionally and/or recklessly with conscious disregard for Plaintiff s health, safety,

   23   privacy, freedom, and human dignity. The aforementioned conduct was so

   24   outrageous in character and so extreme in degree as to go beyond all possible bounds

   25   of decency, and should be regarded as despicable, atrocious, and utterly intolerable in

   26   a civilized community. The acts of Defendant Blatt alleged above were willful.

   27
   28
                                                    23
                     COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
Case 2:19-cv-07053-MWF-FFM Document 1-1 Filed 08/13/19 Page 27 of 61 Page ID #:37




    1   wanton, malicious, oppressive, fraudulent, despicable, and outrageous and justify the
    2   awarding of exemplary and punitive damages.
    3          106. Plaintiff has also been required to expend attorney fees to pursue their

    4   rights under Civil Code § 52.4, and request that she be awarded all attorney fees and

    5   costs reasonably required to pursue her claims pursuant to Civil Code § 52.4.

    6                                FIFTH CAUSE OF ACTION

    7                             (AGAINST ALL DEFENDANTS)

    8                   Freedom from Violence Pursuant to The Ralph Act
    9                     Violation of California Civil Code §§ 51.7 and 52

   10          107. Plaintiff incorporates herein by reference, as though set forth in full, all
   11   preceding Paragraphs of this Complaint.
   12          108. Defendants subjected, and/or aided and abetted in the subjection of

   13   Plaintiff to violence based on her sex, causing physical and psychological injuries to

   14   her. A motivating reason for their conduct was Plaintiffs sex.                     ct-

   15          109. Plaintiff is informed and believes and thereon alleges that she willi-

   16   continue to suffer extreme mental, physical, and pain and suffering in the future as a

   17   result of the injuries alleged herein.
   18          110. Defendants’ conduct was a substantial factor in causing Plaintiffs harm.

   19          111. As a result of the aforementioned conduct. Plaintiff is entitled to a

   20   $25,000.00 penalty and/or punitive damages for Defendants’ conduct in violation of

   21   Civil Code § 51.7, as well as attorney’s fees and costs pursuant to Civil Code § 52.

   22          112. The aforementioned conduct was accomplished intentionally and/or

   23   recklessly with conscious disregard for said Plaintiffs health, safety, privacy,

   24   freedom, and human dignity. Defendants’ aforementioned conduct was so

   25   outrageous in character and so extreme in degree as to go beyond all possible bounds

   26   of decency, and should be regarded as despicable, atrocious, and utterly intolerable in

   27   a civilized community. The acts of Defendants alleged above were willful, wanton.

   28
                                                    24
                     COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
Case 2:19-cv-07053-MWF-FFM Document 1-1 Filed 08/13/19 Page 28 of 61 Page ID #:38




    1   malicious, oppressive, fraudulent, despicable, and outrageous and justify the
    2   awarding of exemplary and punitive damages.
    3                               SIXTH CAUSE OF ACTION
    4                             (AGAINST ALL DEFENDANTS)

    5                                Negligent Misrepresentation

    6         113. Plaintiff incorporates herein by reference, as though set forth in full, all
                                                                                        *
    7   preceding Paragraphs of this Complaint.

    8         114. All Defendants negligently misrepresented material facts to Plaintiff,

    9   namely that Defendants’ would conduct a thorough, prompt, and impartial

   10   investigation into Defendant Blatt’s sexual misconduct and harassment and that she

   11   would not suffer any retaliation by Defendants.                                     /I?

   12          115. Defendants negligently misrepresented material facts to Plaintiffy».;?

   13   namely that their policies and protocol created an environment where sexual assault

   14   is not and will not be tolerated.
   15          116. Defendants made these misrepresentations under circumstances and at a

   16   time when they knew or should have known of the falsity of these representations.

   17          117. Defendants made these representations with a reckless disregard for the

   18   truth or falsity of such statements and/or with an intent to induce Plaintiff to act on

   19   the representations, which, in turn, exposed Plaintiff to harm.

   20          118. Plaintiffs justifiable reliance on Defendants’ misrepresentations resulted

   21   directly in injury to Plaintiff as described above and such injuries and damages were

   22   legally caused by the justifiable reliance upon Defendants’ misrepresentations.

   23          119. Plaintiff is therefore entitled to any and all damages resulting from

   24   Defendants’ negligent misrepresentations that are necessary to make Plaintiff whole,

   25   including, but not limited to, all damages, fees, and costs.

   26
   27
   28
                                           25
                     COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
Case 2:19-cv-07053-MWF-FFM Document 1-1 Filed 08/13/19 Page 29 of 61 Page ID #:39




    1                             SEVENTH CAUSE OF ACTION

    2                     (AGAINST DEFENDANTS lAC AND MATCH)

    3                   Wrongful Termination in Violation of Public Policy

    4          120. Plaintiff incorporates herein by reference, as though set forth in full, all

    5   preceding Paragraphs of this Complaint.
    6          121. California law recognizes public policies that employees should be free

    7   from termination, for reporting illegal activities, refusing to engage in illegal activities

    8   and for reporting sexual harassment. These public policies are embodied in Labor

    9   Code § 1102.5(b).
   10          122. Plaintiff was at all relevant times employed by the Company

   11   Defendants. The Company Defendants terminated Plaintiff, in violation of public

   12   policy embodied in Labor Code §1102.5(b) and Article I, Section 8, of the:^California

   13   Constitution, for reporting illegal activities and in retaliation for making a good faith

   14   complaint about sexual harassment and assault.

   15          123. Asa proximate, result of Defendants’ wrongful termination of, Plaintiff,

   16   Plaintiff has sustained and continues to sustain substantial losses in earnings and

   17   other employment benefits.

   18          124. As a proximate result of Defendants’ wrongful termination of Plaintiff,

   19   Plaintiff has suffered and continues to suffer humiliation, emotional distress, and

   20   mental and physical pain and anguish, all to her damage in a sum according to proof.

   21          125. Plaintiff is informed and believes, and thereupon alleges that

   22   Defendants’ actions were taken with malice, oppression, fraud, and/or willful and

   23   conscious disregard of Plaintiff s rights, and were carried out by Defendants’

   24   managing agents and/or ratified by Defendants. Plaintiff is therefore entitled to

   25   punitive damages in an amount to be determined at trial.

   26
   27
   28
                                                     26
                      COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
Case 2:19-cv-07053-MWF-FFM Document 1-1 Filed 08/13/19 Page 30 of 61 Page ID #:40




    1                               EIGHT CAUSE OF ACTION

    2                    (AGAINST DEFENDANTS lAC AND MATCH)

    3                      Retaliation for Engaging in Protected Activity

    4         126. Plaintiff incorporates herein by reference, as though set forth in full, all

    5   preceding Paragraphs of this Complaint.
    6         127. California law recognizes public policies that employees should be free

    7   from retaliation at the workplace for reporting illegal activities, refusing to engage in

    8   illegal activities and for reporting sexual harassment. These public policies are

    9   embodied in Government Code § 12940(h).
   10          128. Defendants terminated Plaintiff, in retaliation for reporting illegal

   11   activities and in retaliation for making a good faith complaint about sexual
   12   harassment and assault. Defendants’ conduct, therefore, violated the public policies

   13   that are embodied in Government Code § 12940(h) and Article I, Section 8, of the

   14   California Constitution.      .   i-.




   15          129. As a proximate result of Defendants’ wrongful termination of Plaintiff,

   16   Plaintiff has sustained and continues to sustain substantial losses in earnings and

   17   other employment benefits.
   18          130. As a proximate result of Defendants’ wrongful termination of Plaintiff,

   19   Plaintiff has suffered and continues to suffer humiliation, emotional distress, and

   20   mental and physical pain and anguish, all to her damage in a sum according to proof

   21          131. Plaintiff is informed and believes, and thereupon alleges that

   22   Defendants’ actions were taken with malice, oppression, fraud, and/or willful and

   23   conscious disregard of Plaintiff s rights, and were carried out by Defendants’

   24   managing agents and/or ratified by Defendants. Plaintiff is therefore entitled to

   25   punitive damages in an amount to be deteraiined at trial.

   26
   27
   28
                                                    27
                     COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
Case 2:19-cv-07053-MWF-FFM Document 1-1 Filed 08/13/19 Page 31 of 61 Page ID #:41




    1   VI.   RELIEF REQUESTED.                                                ■ •   ■
    2          WHEREFORE, Plaintiff prays for judgment against Defendants and, as
    3   appropriate to each cause of action alleged and as appropriate to the standing of
    4   Plaintiff, as follows:
    5          1.     compensatory damages, including but not limited to, pain, suffering,

    6   emotional distress, loss of enjoyment of life, and other non-economic damages in an

    7   amount to be determined at trial;
    8          2.     economic damages in the form of medical expenses, out of pocket

    9   expenses, lost earnings and earning capacity, and other economic damages in an

   10   amount to be determine at trial;
   11          3.     an award of attorneys’ fees and costs;                             .1ST




   12          4.     prejudgment interest;
   13          5.     post-judgment interest;
   14          6.     punitive or exemplary damages according to proof;       and        n'*'. ^

   15          7.     for such other and farther relief as this Court may deem just and proper.

   16   VII. DEMAND FOR JURY TRIAL                                                       ,"v.


   17          Plaintiff hereby demands a tidal by jury as to all of her claims.

   18   Dated: August 5, 2019
   19
   20                                            By:
                                                         M. Elizabeth Graham, CA 143085
   21                                                    Paige Alderson
                                                         GRANT & EISENHOFER P.A.
   22                                                    101 California Street, Suite 2710
                                                         San Francisco, California 94111
   23                                                    Phone: (415) 365-9585
                                                         Fax: (415) 365-9650
   24
                                                         Email: egraham@gelaw.com
   25                                                    Email: palderson@gelaw.com
   26
   27
   28
                                                    28
                      COMPLAmi FGx^ DAMAGES AND DEMAND FOR JURY TRIAL
Case 2:19-cv-07053-MWF-FFM Document 1-1 Filed 08/13/19 Page 32 of 61 Page ID #:42




                                                                                            2018-SJ-007-0<1


          1
          2                                                                                         FILED
                                                                                              SupoHorC^i CeSfomte
          3                                                                                    Counly of La? Angstes

          A                    SUPERIOR COURT OF THE STATE OF CALIFORNIA                          APR 16 W8
          5                            FOR THE COUNTY OF LOS ANGELES
          6
          7
              IN RE PERSONAL INJURY                      )   CASE NO,:
              COURT (“PI COURr’) PROCEDURES,             )
          a   CENTRAL DISTRICT                           )   STANDING ORDER RE: PERSONAL
              (EFFECTIVE APRIL 16,2018)                  )   INJURY PROCEDURES, CENTRAL
          9                                              )   DISTRICT
     10                                                  )

     11
     12
     13                         DEPARTR^ENT;             2        3      4      5     7
     14
                                     FINAL STATUS CONFERENCE f««FSC*n;                                           •V.



     15
                                      DATE;                                  AT 10:00 A.M.
     16
     17                                                TRIAL:

     IB                            e DATE:                                   AT 8:30 A.M.
     19                       QSC RE DISMISSAL ICQDE CIV. PRCMl. 6 583.2101:
     20
                                  » DATE:                                    AT 8:30 A.M.
     21
     22             TO EACH PARTY AND TO THE ATTORNEY OF RECORD FOR EACH PARTY:
     23             Pursueot to the Caiironsia Code ofavU Procedure (“C.C.P."), the Califoraia Rules
     24       of Court (“C.R.C”) and the Los Aagdes County Court Rules (“Local Rules”), the Los
     25       Angeles Superior Court (“LASC* or “Court”) HEREBY AMENDS AND SUPERSEDES
     26       THE AUGUST 10,2017 SEVENTH AMENDED GENERAL ORDER AND, GENERALLY,
     27       ORDERS AS FOLLOWS IN THIS AND ALL OTHER GENERAL JURISDICTION
     28       PERSONAL INJURY ACTIONS FILED EN THE CENTRAL DISTRICT.


                                                    Page i of 8

                            Standing Order Re Peisons! Injury Praceduns, Central District
Case 2:19-cv-07053-MWF-FFM Document 1-1 Filed 08/13/19 Page 33 of 61 Page ID #:43




                                                                                                 2D18-SJ-007-0fl



          I     1,    To ensure proper assignment to a PS Court, PlaintiSIs) must corcMiy fiJl out the CSvit
          2     Case Cover Sheet Addendum (form LACIV 109). The Court defines ‘personal injury'' as:
          3           “an unlimited cirni case described on the Civil Cose Cover Sheet Addendum and
          4           Statement of Location (LACIV 109) as Motor Vehicle-Personal Injury/Property
          5           Domage/Wrongfut Death; Personal Injuty/Propcrly Oamage/Wrongfui Death-
          6           Uninsured      Motorist;   Product      Liability   (other   than    asbestos    or
          7           toxic/environmental); Medical Malpractice-Physicians & Surgeons; Other
          8           Professional Health Care Malpractice; Premises liability; Intentional Bodily
          9           Injory/Proptyty DomageAVrongful Death; or Other Personal Injuiy/Property
     10               DamageWrongful Death. An action for intentional infliction of emotional
     11               distress, defaiaation, civil righls/dsscrimination, or malpractice (other than
     12               medical malpractice), is not included in this definition. An action for injury to
     13               real property is not included in this definiUon." (Local Rule 2,3(aXl)(A).)
     14               Consistent with Local Rule 2J(a)( 1 ){A), the Court will assign a case to the PI Courts if   s.


     15        plainlifXs) check any of the following boxes in the Civil Case Cover Sheet Addendum:
     16                           A7I00 Motor Vehicle ~ Personal injuiy/Property DamageAVrongful Death
     17                           A711 d PcfsanaJ Injury/Property DamageAVrongfiil Death - Uninsured               >
     IB                           Motorist
     19                          A7260 Product Liability (not asbestos or toxlc/environmentol)
     20                           A72I0 Medical Malpractice - Physicians & Surgeons
     21                          A7240 Medical Malpractice-Other Professional Health Care Malpractice
     22                          A72S0 Premises Liability {e,g., slip and foil)
     23                          A7230 Intentional Bodily Injuty/Property Damage/Wtbngful Death (e,g,,
     24                         assault, vandalism etc.)
     25                         A7220 Other Personal Injury/Property Damage/Wrongful Death
    26               The Court will not assign cases to the PI Courts if p]aindf!(s) check any boxes elsewhere
    27        In the Civil Case Cover Sheet Addendum (any boxes on pages two and three of that form).
    28        ///


                                                           Page 2 ofS

                              Standing Order Re Petaosal Injury Procedures, Caitral District
Case 2:19-cv-07053-MWF-FFM Document 1-1 Filed 08/13/19 Page 34 of 61 Page ID #:44




                                                                                                      2018-SJ-007-QC


          1               The Court sets Ihe above date in this action in the PI Court drcied above (Department
          2        2,3,4,5, or 7) at the Spring Street Courthouse, 312 North Spring Street, Los Angeles, CA 90012.
          3        {C.R.C. Rules 3.7 l4(bK3). 3,729.}
          4        FILING OF DOCUMENTS
         5     2.        Parties may rile documents in person at the filing window on the first floor of the Stanley
         6     Mosfc Courthouse (111 N. Hill Street, Los Angeles, CA 90012) or by U.S, Mail or cDclivery,
         7     which is available online at >mtnt'./ocot/rAory (link on homepage). Please note that filings are no
         8     longer accepted via fecrimlle and must be filed cither in person, via U.S. mail or via e-Deli very.
         9     Claims involving an attorney-client fee dispute, documents in which the filing party is a minor,
     10        legally incompetent person, or ptason for whom a conservator has been appointed, requests to
     11        waive court fees (FW-OOl) and requests for accommodations by persons with disabilities (MC-
     12        410), may not be filed via c-Delivery.
     13        SERVICE OF SUMMONS AND COMPLAINT
     14        3.         Plaintifits) shall serve Ute summons and complainl In this action upon dcfendant{s) as
     15        soon ns possible but no l^er than three years from Uic dale when the complaint is filed.
                                                                                                                       T
     16       (C.C.P. § S83.210, sub(L(a}.) On the OSC re Dismissal date noted above, the PI Court will
     17       dismiss the action and/or nil unserved parties unless the plaintiff^s) show cause why the action
                                                                                                                       ■V
     18       or thesinserved parties should not be dismissed. (C.C.P. §§ 583.250; 581, subd. {bK4).)
     19       4.        “nte Court sets the above trial and FSC date on condition that plaintiffts) effcctuale
    20        service on defendants) of the summons and complaint within six months of filing Ihe complaint
    215.                The PI Court will dismiss the case without prejudice pursuant to C.C.P, § 581 when no
    22        party tqipears for trial.
    23        STIPULATIONS TO CONTINUE TRIAL
    24        6.        Provided that all parties agree (and there is no violation of the “five-year rtilc,” C.C.P.
    25        § 583.310), the parties may advance or conticue any trial date in the PI Courts without showing
    26        good cause or articulating any raaso.n or justification for the change. To continue or advance a
    27        trial dale, the parties (or their couRse! of record) should jointly execute and submit (at the filing
    28        window on the first floor of the S tonfey Mosk Cpurfhaase, via U.S. mail or via e-Delivery; fee


                                                            Page 3 of8

                                 Standing Order Rs Pstssnal Injury Procedures, Central District
Case 2:19-cv-07053-MWF-FFM Document 1-1 Filed 08/13/19 Page 35 of 61 Page ID #:45




                                                                                                   2018-SJ-007-0C



          1     required) a Stipulefion 5o CaistuisiB Trial, FSC and Related Motion/Discovery Dates {foim
          2     LACIV CTRL-242, available on the court’s website, Persona! Injury Court Jink). The PI Courts
          3     schedule FSCs for 10:00 a-ni,., eight (8) court days before the triai dote. Parties seeing to
                                                                                             '              e
          4     continue the trial and FSC dates shall file the Stipulation at least eight court days before the FSC
          5     date. Parties seeking to advance the trial and FSC dates shall file the Stipulation at least eight
          6     court days before the proposed advanced FSC dote. (C.C.P, § 5952; Govt Code § 70617, subd.
          1     (c)(2).) In selecting a new trial dats^ parties should avoid setting on any Mondoy, or the Tuesday
          8     following a court holiday. Parties may submit a maximum of two stipulations to continue Inal,
          9    for a total continuance of six months. Subsequent requests to continue trial will be granted upon
     10         a showing of good cause by noticed mation. This mlc is retroactive so that any previously
     11         granted slipulalion to continue trial will count toward the maximum number of allowed
     12        continuances.
     13        NO CASE MANAGEMENT CONFERENCES
     14        7.          PJ Courts do not conduct Case Management Conferences. The parties need not file
     15        a Case Management S tatemesiL
     16        LAW AND MOTION
     17        ?.     Any documents with deef^tions and/or exhibits must be tabbed. (C.R.C. Rule                       •#
     IB        3.II 10(r).) All depositions excerpts referenced in briefs must be marked on the transcripts            • I


     19        attached as exhibits. (C.R.C. Rule 3.11 !6{c).>
     20        CHAMBERS COPIES RECjUSIlED                   '
     21       9.      in addition to filing onginai motion papers at the filing window on the first floor of the
     22       Stanley Mosk Courthouse, via U.S. mail or via e-Deliveiy, the parties must deliver, directly to
     23       the PI Court courtrobrns at the Spring Street Courthouse, an extra copy (marked “Chambers
     24       Copy”) of reply briefe and nil oUie- motion papers filed less than seven (7) court days before a
     25       hearing calendared in the PI Courts. The PI Courts also stron^y encourage the parties filing and
    26        opposing lengthy motions, such as motions for siiminasy judgmem/adjudication, to submit one
    27        or more lhree>nng binders orgrarizing the chambEsrs copy behind tabs.
    28        ///


                                                          Page 4,of S

                               Standing Order Rs PssrsoKel Injury Procedures, Central District
Case 2:19-cv-07053-MWF-FFM Document 1-1 Filed 08/13/19 Page 36 of 61 Page ID #:46




                                                                                                   2018-SJ-007-00



          1     RESERVATION HEARING DATE
          2     10.    Pfiities are directed to Fsssrve hearing dates for motions in the PI Courts u»ng the Court
          3    Reservation System (CRS) avaiiabie online at wwiv.lacourt.ort! (link on homepage). Alter
          4    reserving a motion hearing dale, the reservation requestor must submit the papers for filing with
          5    the reservation receipt (CRS) number printed on the face page ofthe document under the caption
          6    and attach the reservation receipt as the last page. Parties or counsd who are unable to utilize
         7     the online CRS may reserve a motion hearing dale by calling the PI Court courtroom, Monday
         8     through Friday, between 3:00 p.m. and 4:00 p.m.
         9     WITHDRAWAL OF MOTIONS
     10        n.      Callibmla Rules of Court, Rule 3.1304(b) requires a moving party to notify the court
     11        immediately if a matter will not be heard on the scheduled date. In keeping with that rule, the PI
     12        Courts urge parties who amend pleadings in response to dernunreis to file amended pleadings                    ■




     13        before the dale when opposition !o the demurrer is due so that the PI Courts do not needlessly         tv-
     14        prepare tentative rulings on demurrers.                                                                C*.*-


     15        DISCOVERY MOTIONS
     16        12.    The purpose of nn Infbrnml Discovery Conference (“IDC") is to assist the parties to            •nif.
     17       resolve and/or narrow the scope ofdiscovery dilutes. Lead trial counsel on each side, or another
     18       attorney with full authority to rheke binding agreements, must attend in person. The PI judges         ’ ■*-




     19       have found that, in nearly every case, die parties amicably niOTlve disputes with the assistance
     20       oflheCoari.
     21       13.     Parties must participate in an IDC before a Motion to Compel Further Responses to
    22        Discovery will be heard unless the moving party submits evidence, by way of declaration, that
    23        the opposing party has failed or refused to parUdpaic in an IDC. Scheduling or participating in
    24        an IDC does not automatically extend any deadlines imposed by the Code of avil Procedure for
    2S        noticing and filing discovery molioos. Ideally, the parties should participate in on IDC before a
    26        motion is filed because the IDC may avoid the necessity ofa motion or reduce its scope. Because
    27        of that possibility, attoraeys are encouraged to stipulate to extend the 45 (or 60) day deadline for
    28        filing a motion to compel fiiriher discovery responses in order to allow time to participate in an


                                                          Page 5 ofS

                               Sisnding Order Re Personal Injury Proccdjtrss, Central District
Case 2:19-cv-07053-MWF-FFM Document 1-1 Filed 08/13/19 Page 37 of 61 Page ID #:47




                                                                                                     2O10-SJ-OO7-OI


          1      IDC.
          2               If parties do nol siipuiote to extend the deadItneSj the moving party may file the motion
          3     to avoid it being deemed untimely.         However, the IDC must take place before the motion is
          A     heard so it is suggested that the moving party reserve a date for the motion hearing that is at least
          5     60 days after the date when the IDC reservation is made. Motions to Compel Further Discovery
          6     Responses arc heard at 10:00 aon. If the IDC is not productive, the moving party may advance
          7     the healing on a Motion to Compel Further Discovery Responses on any available hearing dale
          a     that complies with the notice requirements of the Code of Civil Procedure.
          9     N.        Parties are directed to reserve IDC dates in the PI Courts using CRS ovailable online at
     10         wwwjaeouft.org (link on homepage). Parties are to meet and confer regarding the available
     11         dates in CRS prior to accessrag the system. After reserving the IDC date, the reservaUon
     12        requestor must file in the appropriate department and serve cn Lnfonnal Discovery Conference                      i
     13        Fonn for Personal Injury Courts. Irera L/.CrV 239 (revised 12/14 or later), at least 15 court days           •A;
     14        prior to the conference and attach the CRS reservation receipt lis (he lost page. The opposing               -UiA,.

     15        party may file and serve a responsive IDC form, briefly setUng forth that party's response, at                    V

     16        least 10 court days prior lo the IDC.
     17        15.       nma permitting, the PI Hub judges may be available to participate in IDCs to try to                '.RK
     18        resolve other types of discovery disputes.                                                               I    ■   »




     19        EX PARTE APPLICATIONS ''
     20        16.       Under the California Rules of Court, courts may only grant ex parte relief upon a
     21       showing, by admissible evidence, that the moving party will suffer “irreparable harm,”
    22        “immediate danger,” or where the moving party idenUftes “a statutory basis for granting relief
    23        ex parte." (C.R.C. Rule 3.1202(c).) The P! Courts have no capacity to hear multiple ex parte
    24        applications or to shorten Umc lo add hearings to their folly booked motion calendars. The PI
    25        Courts do not regard the Court’s unavsilability for timely motion hearings as an “immediate
    26        danger” or threat of “iirepaiBble hnmi” justi^irg ex parte relief. Inrtead of seeking ex parte
    27        relief, the moving party should reserve the earliest available motion hearing date (even if it is
    28        after the scheduled trial dale) and should file a motion to continue trial. Parties should also check
                     ”                                 •     '




                                                            Page 6 of8

                                 Standing Qrdw Re Personal Injury ProccriurK, Central District
Case 2:19-cv-07053-MWF-FFM Document 1-1 Filed 08/13/19 Page 38 of 61 Page ID #:48




                                                                                                  2018-SJ-007-00



          1    Ihe Cbutl Reservation System from time to time because earlier hearing dales may become
          2    available as cases settle or hearing are taken off ealeadar.
          3    REQUEST FOR TRANSFER TO INDEPENDENT CALENDAR DEPARTMENT
          4    17.     Parties seeking to transfer a case from a PI Court to an Independent Calendar ("1/C’)
          5    Court dial! file (at the filing window on the first floor of the Stanley Mosk Courthouse, via U.S.
          6    mail or via c-Delivciy) and serve the Court’s “Motion to Transfer Complicated Personal Injury
          7    Case to Independent Calendar Court" (form LACl V 238, available on the Court’s website under
          8    the PI Courts link). The PI Courts will transfer a matter to an !/C Court if the cose is not a
          9    "Personal Injury" case as defined in this Order, or if It is ‘‘complicated " In detemuning whether
      10       a personal injury case is ‘‘complicated" the PI Courts wilt consider, among other things, the
      11       number of pretrial hearings or the complexity of isswK presented.
      12       18.     Parties opposing a motion to transfer have five court days to file (at the filing window
      13       on the first floor of the Stanley Mosk Couilhoasc, via U.S. mail or via c-DcIi vejy) an Opposition   -4
     14        (using the same LACIV 238 Motion to Transfer form).
     15        19.    The PI Courts will not conduct e hearing on any Motion to Transfer to UC Court.
     16       Although the parties may stipulate to transfer a case to an Independent Calendar Department, the
     17       PI Courts will make an ind^i^decj delerminatioo whether to transfer the case or not
     le       FINAL STATUS CONFERENCE
     19        20.    Parties shall comply with the requiiesnenis of the PI Courts’ "First Amended Standing
     20       Order Re Final Status Dmfersrtee," which shall be served with the summons and complaint
     21       JURYFEES
     22       21.    Parties must pay jury fees no later than 365 calendar days after the filing of the initial
     23       complaint {C. C. P. § 631, su’sds, (b) and (c).)
     24       JURY TRIALS
     25       22,    The PI Courts do not conduct jury trials. On the trial dale, a PI Court will contact the
     26       Master Calendar Court, Dcpartmesil Oni^ in the Stanley Mosk Courthouse. Department One
     27       will assign cases out for trial to dedicated Civil Trial Courtrooms and designated Criminal
    28        Courtrooms.


                                                         Page 7 of8

                               Standisrg Order Re Persona! Injury ffdcediires, Central District
Case 2:19-cv-07053-MWF-FFM Document 1-1 Filed 08/13/19 Page 39 of 61 Page ID #:49




                                                                                              201B-SJ-007-00


          1 SANCTIONS
          2 23. Tlie Court has discfelion to impose sanctions for ony violation ofthis general Older.
          3 (C.C.P. §§ 128.7,187 and Gov. Code, § 68608, subd. (b).)
          4
          5
          6   Dated:                ikfhO IST
          7               I                              Debre K. WdniFBub
                                                          Supervising Judge of Civil Courts
          8                                               Loa Angeles Superior Court
          9
      10
     11
     12
     13
     14
     IS
     16
     17
     18
     13
     20
     21
     22
     23
     24
    25
    26
    27
    28


                                                      Fags g ofS
                              Slandisg Ordir Re P«sonal Injury Procedures, Central District
Case 2:19-cv-07053-MWF-FFM Document 1-1 Filed 08/13/19 Page 40 of 61 Page ID #:50




                    1                                                                                          201&^J^]06K}C
                    2                                                                       FILED
                                                                                 Suraitof Court oi CaRfamla
                                                                                  County of U» Ano<^s
                    3
                    4                                                                    Am 16 2019
                    S
                                                                                      ‘^SMpianfs Clwiig'^
                    s
                    7

     ■ •   ■        8
                                            SUPERIOR COURT OF THE STATE OF CAUFORNIA
                    9                  FOR THE COlINTY OF LOS ANGELES - CENTRAL DISTRICT
                10

                11
                         In re Phonal Injuiy Cases Assigned        } FIRST AMENDED STANDING ORDER-
                         To Ihe Personal njuiy Courts                RE: FINAL STATUS CONFERENCE,
                12
                         ipapartments 2.3. 4,5 and 7 of the Spring   PERSONAL INJURY ("Pr) COURTS
                         Siraet Courthouse)                          (Effecth/e as of Apnl 16,2018)
               13

               14

               ts        The dales for Trial and FfnaS Status Confeianse (“FSC“) having been sat in this matter, the
               IS        Court HEREBY AMENDS AND SUPERSEDES ITS JANUARY 2, 2018 STANDING                                     -i Vf ■

               17       ORDER-RE: FINAL STATUS CONFERENCE, PERSONAL INJURY {“PI") COURTS
               18       AND, GENERALLY, ORDERS AS FOLLOWS IN THIS AND ALL OTHER GENERAL
               19       JURISDICTION PERSONAL INJURY ACTIONS:                     ■
               20

               2t              1.     PURPOSE OF TOE FSC
           22                  The purpose of the FSC Is to verify that the parlies/counsel are complelefy ready to
           23           proceed with trial continuously and efficlenUy, from day to day, until vardlcL The PI Courts
           24           will verify at the FSC that all partles/counsel have (1) prepared the Exhibit binders and Trial
           25           Document binders and (2) met and conferred In an effort to stipulate to ultimate facts, legal
           28           ssues, motions In limine, and the aulhenticatlon and admissibility of exhibits.
           27 ///
           28           f/i
                                                                   Psga 1 of S

                        FIRST AMEWDEO OROgR RE       ETATOS CO:«^gNra, PEfSOWftL IWAHtY COURTS (Effadlvrt AprtI Ifl, 2018)
Case 2:19-cv-07053-MWF-FFM Document 1-1 Filed 08/13/19 Page 41 of 61 Page ID #:51




            1           2.       TRIAL DOCUSi/IENTS TO BE FILED
            2           At least five calendar days prior to the Final Status Conference, the parties/counsel
            3    shay serve ar>d file (In Room 102 of the Stanley Mosk Courthouse or by e-Delivery) the
            4    following Trial Readiness Documents;
            S                   A.      TRIAL BRIEFS (OPTIONAL)
            6                    Each party/counsel may file, but is not required to file, a trial brief succinctly
            7    Identifying;
            8                   (1) the claims and defenses subject to litigation;
         9                      (2) the major legal issues (with supporting points end authorities);
        10                      (3) the relief claimed and calculation of damages sought; and
        11                      (4) any olher InformaBon that may assist the court at trial.
        12                      B.      (ISOTIONS IN UltSINE                                                                Y-


        13                      Before filing motions in limine, the parties/counsel shall comply with the                  i

        14      statutory notice provisions of Coda of Chnl Procedure ('C.C.P.’} Section 1005 and the
        15      requirements of Los Angeles County Court Rule (‘Local Rule”) 3.57(a). The capfion of each
        IB      motion in limine shall concisely identic the evidence that the moving party seeks to                  '■/




        17      preclude. Parties filing more than one motion In limine shaO number them consaoutlvely.
        IS      Parties filing opposition arrd reply papers shall Identify the rorresponding motion number In
        19      the caption of their papers,
       20                       C.     JOINT STATEMENT TO BE READ TO THE JURY
       21                       For Jury trials, the parties/counsel shall work together to prepare and file a joint
       22       written statement of the case for the court to read to the jury. Local Rule 3.26(gK4}.
       23                       D.     JOINT W8TNESSUST
       24                       The parties/counsel         work together to prepare and file a joint fist of all
       25       witnesses In alphabetical order by last name that each party intends to call (excluding
       28       mpeachment and rebuttal witnesses). Local Rule 3.25(gK5). The joint wfiness Hst shall
       27       Identify eadi witness by name, specify which witnesses are experts, and estimate the length
       23       of the direct, cross examinatfcm and re-direct examination (If any) of each witness. The
                                                              Fageaors

                FIRST AXCNDEO OROiR RE FlNAi SSATUS CONFERErtCS. PERSONAL INJURY COURTS (ErfBcUve Aprt 16.201B)
Case 2:19-cv-07053-MWF-FFM Document 1-1 Filed 08/13/19 Page 42 of 61 Page ID #:52




            1   parties/counsei shad identic ail poiantlai witness scheduling issues and special
         2       requirements. Any party/courwei             seeks to eildt testimony from a witness not Idenlifled
            3   on the witness list must first make a showing of good causa to the trial court,
            4                  e.     SJST OF PROPOSED JURY INSTRUCTIONS
         5                            {JOINT AND COfITESTED)
         6                     The parties/counsa! shall jointly prepare and lila a list of proposed Jury
         7      Instructions, Oiijanlzed In numerical order, specifying the Instructions upon which all sidles
         8      agree and the contested Instructions. If any. The List of Proposed Jury InsIrucUons must
         9      Include a space by each instruction for the judge to Indicate whether the instruction was
        10      given.
        11                    F.      JURY INSTRUCTIONS
        12                            (JOINT AND CONTESTEDj
        13                    The pertlas/counsel shaO prepare a complete set of full-text proposed jury          ^
        14      Instructions, editing all proposed Callfomla Civil Jury InsliucUons {‘CACI') atxi Insert party ,
        15      name(s) and eliminate blanks and Imalavanl matofial. The parties/counsel shall prepare
       16       spadal inslnjctions In a format ready for subrnbslon to the jury with the Instruction number,;          LS'

       17       title, and text only (l.s,, itisrs should bs no boxes er other Indication on the printed         »i4-




       18       Instruction Itself as to the raquasUng party).
       IB                     6.     JOINT VERDICT FORfJfS)
       20                     The parties/counsel shall prepare and jolnlly file a proposed general verdict
       21       fotm or special verdict form {with Interrogatories) acceptable to all sides. Local Rirfe
       22       3.25(gKS). If the partias/Gaunse! cannot agree on a joint verdict fonn, each party must
       23       separately file a proposed verdict ^rm.
       24                     H.     JOINT EXHIBIT LIST
       25                     The par^es/counsel shall prepare and file a joint exhibit list organized with
       26       columns Identifying each exhibit and spsdlylng each party's avldentlary objections, if any, to
       27       admission of each exhibit The partlss/counse! shall meet and confer In an effort to resolve
                                               >   '     f    ■



       28       objections to the admissibility of each exhibit



                FIRST AMENDED ORDE.R m RNAL STATES CCi^RENCS. reRSONAL INJURY COURTS (EffocUva April IB. 2018)
Case 2:19-cv-07053-MWF-FFM Document 1-1 Filed 08/13/19 Page 43 of 61 Page ID #:53




            1                    L      PAGE Am U!^E DESIGNATION FOR
            2                           DEPOSITION AND FORMER TESTIMONY
            3                    (f the partles/ccHjnset Intend to use deposition testimony or fomnar trial
            4    testimony in lieu of any witness's live testimony, the parlie^counsel ahaU meet and confer
            5    and jointly prepare »id file a chart vwth columns for each of the following: 1} the line and
            6    page designations of the deposition or former testimony requested for use. 2) objections.
            7    3) counter-designations, 4) any responses thereto, and 5) the Ckiurt's ruling.
            8           3.       EVIDENTIARY EXHIBITS
         0              The parties/counsel shall jolnUy prepare (and ba ready to temporarily lodge for
        10       InspBcOon at the FSC) three sets of tabbed, intemaiiy paginated by document, and properly-
        II       marked oxhibils, organized numerically In three-ring binders (a set for the Court, the Judicial
        12       Assistant and the witnesses). Tha partiss/counse! shall mark aH non-documentary exhibits,.,
        13       and Insert a simple written description of the exhibit behind the corresponding numerical tab
        14       in the exhibit binder. If the parties have a Joint signed exhibit list and etectrora'c copies of .
        15       their respective e,di!bHs. then the partles/counsel vwll not ba required to produce exhibit       ^
       16       binders at tlie FSC. However, the exhibit binders may be required by the assigned trial                .t'
       17       judge when the trial commences. In the absence of either a joint signed exhibit 8st or
       IB       electronic copies, exhibit binders vdil be required by all parties/counse! at the FSC.
       IB              4.        TRIAL BINDERS REQUIRED IN THE PI COURTS
       20              The parties/counse! sh^l jointly prepare (and bo ready to (emporenly lodge and
       21        nclude the following for inspection at the FSC) the Trial Documents consisting of conformed
       22       copies, tabbed and organized Into three-ring binders wi»i a table of contents that Includes
       23       the following:
       24              Tab A:         Trial Briefs (OpUonal)
       25              Tab B:         Motions in Umlns
       2B              Tab C:         Joint Statement to Be Read to the Jury
       27              TabD:          Joint Witness Ust
       26       II!
                                                               Paga4or5


                Rf»T AMENDED ORDER RE          STATUS CONF^lgNCE. PERSOMAL fNJURV COURTS (EffacSva Aprt116. »18)
Case 2:19-cv-07053-MWF-FFM Document 1-1 Filed 08/13/19 Page 44 of 61 Page ID #:54




             1            TabE:         Joint List of Ja<v tnstnictions (identifying the agreed upon and
            2     contested Instructions)
            3             Tab F:       Joint and Contested Jury instructions
            4             Tab G:       Jobs! and/or Contested Veniict FoiTn{s)
            5             TabH:        Jojnt Exhibit List
            e             Tabt:        Joint Chart of Page and Lina Designationfs) for Deposition and Former
            7     Testimony
            8             TabJ:        Copies of the Current Operative Pleadings (Including the operative
            9     complaint, answer, cross-complaint, If any, and answer to any cross-complaint).
        10                The partles/counsel shall organize motions In limine (tabbed In numerical order)
        11        behind Tab B with the opposition papers and reply papers for each motion placed directly
        12       behind the moving papers. The parties shall organize proposed Jury instmctkms behind
        13       Tab F, with the agreed upon instructions first in order followed by the contested Instructions
        14       (Including special instructions) submitted by each side.
        IS                5.      FAILURE TO COMPLY WITH FSC OBLIGATIONS
        16               The court has discretion to require any party/counsel who fails or raftises to comply,
        17              this Amended Standing Order to show cause why the Court should not Impose             f-J.



        18       monetary, evidentiary and/or issue sanctions (including the entry of a default or the striking
        18       of an answer).
        20

       21

       22        Date
       23
                                                            Supsrvl^g Judge, Civil
       24                                                   Los Angeles Superior Court
       25

       26

       27
       28
                                                            F^SofS

                 RRST A^«^OKi ORDSt m FiMAL STATUS GO!<?FERgNCS. PgRSONAL INJIWY COURTS (EirecSva Apra 16.2016)
Case 2:19-cv-07053-MWF-FFM Document 1-1 Filed 08/13/19 Page 45 of 61 Page ID #:55




                                                                 m
                              Superior Court of California, County of Los Angeles

                                      ALTERNATIVE DlSPlJfE RESOLUTION? (ADR)
                                             INEORSyiAjlON PAG^GE
    THE PLAINTIFF MUST SERVEiTHIS ADR INFORMATION PACKAGE ON EACH PARTy WITHiTHE COMPIJMNT.

    iCROS^OMPLAINANTS mustserye this'ApRTnformationipackage^n any new parties named to the action
    iwith thie,cross-complaint


   What is ADR?
   ADR helps people find soluttons to their legal disputes without going to trlaL The main types of ADR are negotiation,
   mediation, arbitration and settlement conferences. When ADR Is done by phone or computer, It may be called Online
   Dispute Resolution (ODR). These "alternatives" to iitigstion and trial are described below.

   Advantages of ADR
      • Saves Time: ADR is faster than going to trial.
      • Saves Money: Parties can save on court costs, attorney's fees and witness fees.
      • Keeps Control with the partiss: Parties choose their APR process and provider for voluntary ADR.                   -"i
      • Reduces stress/prstects privacy: ADR is done outride the courtroom. In private offices, by phone or online

   Disadvantages of ADR
       • Costs: If the parties do not resolve their dispute, they may have to pay for ADR and litigation and trial.
       • No Public Trial: ADR does not provide 3 public trial or a decision by a jucfee or jury.

   Main Types of ADR:
        1. Negotiation: Parties often talk with each other in person, or by phone or online about resolving their case with a
           settlement agreement instead of a trial, if the parties have lawyers, they will negotiate for their clients.

        2. Mediation; In mediation, a neutral "mediator" listens to each person's concerns, helps them evaluate the
           strengths and weaknesses of their cssa, and v.'orks with them to try to create a settlement agreement that is
           acceptable to all. Mediators do net       the mizems. Parties may go to trial if they decide not to settle.

                         Mediation may be ^prsprieto when tbs parties
                           • want to work out a solution but need heip from a neutral person.
                           » have communicatie.n problems or strong emotions that interfere with resolution.
                         Mediation may not bs appropriate when the parties
                           • want a public trisi end v/ant q Judge cr Jury' to decide the outcome.
                           • lack equal bsrgcinlt^s psu/er cr have a histor/ of physical/emotlonal abuse.
                                                        •   ■;

                                                                                                                       LASCl
  lASCavttl NEW 03/19
  ForManditoiyUse
  Cilllontfa ftulei of Court, rde 3.221
                                                   />
Case 2:19-cv-07053-MWF-FFM Document 1-1 Filed 08/13/19 Page 46 of 61 Page ID #:56




                                          How to arrange tne^lstion in Los Ahgelss Coui^
       Mediation for civil cases is voluntary and parties may select any mediator they wTsh. Options include:

                  a. The Civil Mediation Vendor Resource Usl
                       Parties may contact these organizations to request a 'Resource'Ust Mediation" for reduced-cost or
                                 free (forsele^ed cases) mediation in person or with ODR (by phone or online).

                        •    JAMSj inc: Case Manager (213) 253>9776, mdawsongliamsadr.com
                        *    Mediation Center of Lbs Angeles: Case Managen (833),476-9145 lnfo@mediationLA.org

                  These organizations cannot accept every case and they^niaybi^ine casK at tlfoindl«fetibn.
                     Visit www.lacouit.ofg7ADR.Res.H5t fof.imporfont Ihformatton and FAQs before contacting them;
                     NOTE: This service is not avallable'far faniilv law, probate or sma'il claims.

                  b. Los Angeles County Dispute Resolution Programs
                     httP5://wdacs.lacountv.gov/orogram5/drD/
                         • Free, day-         trial rnediations at the courthouseXor small claims, unlawful detainers (evictions)
                              and, at the Stanley Mosk Courthouse, limited civil. No appointment needed.
                         • Free or Ibw-cost mediations before the dav of trial for these and other case types.                  ^
                         • For ODR by phone or computer for small'claims or unlawful detainer (eviction) cases before the
                              day of trial, visit
                              htiu://www.lacourt.om/divi5ion/smallclalms/pdf/OnlmeDl5PuteRc5oiutionFlvcrEngSDan.Ddf

                  e.    Mediators and ADR and Bar org^nizatiens that provide mediation may be found on the Internet.

                                                             -. -J                                                             f


        3.   Arbitration: Arbitration is less formal than trial, but like trial, the parties present evidence and arguments to the
             person who decides the outcome. In "binding" arbitration, the arbitrator's decision is final; there is no right to
             trial. In "nonbinding" arbitration, any party can request a trial after the arbitrator's decision. For more
             information about arbitration, visit httn://www.court5.ca.eov/programs-adr.htm

        4.   Mandatory Settlement Conferences (MSC): MSCs are ordered by the Court and are often held close to the trial
             date. The parties and their attorneys meet with a judge or settlement officer who does not make a decision but
             assists the parties in evaluating the strengths and weaknesses of the case and in negotiating a settlement.
             For information about the Court's MSC programs for civil cases, visit: www.lacourtorg/division/civil/settlement




   Los Angeles Superior Court ADR website: ivww.iacourt.org/division/civil/settlement
   For genera! Information and videos absyf- AOR, visit httg;//wwv/.eQurts.ca.gov/oroKrams-adr.htro




                                                                                                                            LASC2
  use OV 271 NEW 03/19
  ForMiniUtoryUse
  Calllonila Rules of Court ruts 3,221
Case 2:19-cv-07053-MWF-FFM Document 1-1 Filed 08/13/19 Page 47 of 61 Page ID #:57
                                                                                                  2019-GEN-0I4-00

                                                                                      FILED
                                                                              Superior Court of Calilbmla
 1                                                                              County of Los Angeles

 2                                                                                  MAY QB 2019
                                                                          Sherrii R^Carter, E^Uve Offleer/Clerk
 3                                                                                               __ .Deputy
 4

 5
                            SUPERIOR COURT OF THE STATE OF CALIFORNIA
 6
                                    FOR THE COUNTY OF LOS ANGELES
 7

 8    IN RE LOS ANGELES SUPERIOR COURT )                   FIRST AMENDED GENERAL ORDER
      - MANDATORY ELECTRONIC FILING )
 9    FOR CIVIL                        )              )■


 10                                                   )
 11
 12          On December 3, 2018, the Los Angeles County Superior Court mandated electronic filing of all

 13   documents in Limited Civil cases by litigants represented by attorneys. On January 2, 2019, th| Los
 14   Angeles County Superior Court mandated electronic filing of all documents filed in Non-Complex
 15   Unlimited Civil cases by litigants represented by attorneys. (California Rules of Court, rule 2.253(b).)
 16   All electronically filed documents in Limited and Non-Complex Unlimited cases arc subject to the
 17   following:
 18   1) DEFINITIONS
 19      a) “Bookmark” A bookmark is a PDF document navigational tool that allows the reader to
 20          quickly locate and navigate to a designated point of interest within a document.
 21      b) '^filing Portal” The official court website includes a webpage, referred to as the efiling
 22          portal, that gives litigants access to the approved Electronic Filing Service Providers.
 23      c) “Electronic Envelope” A transaction through the electronic service provider for submission
 24          of documents to the Court for processing which may contain one or more PDF documents

 25          attached.                          , .            ‘•r
 26      d) “Electronic Filing” Electronic Filing (eFiling) is the electronic transmission to a Court of a

 27          document in electronic formi (California Rules of Court, rule 2.250(b)(7).)

 28


                         FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
    Case 2:19-cv-07053-MWF-FFM Document 1-1 Filed 08/13/19 Page 48 of 61 Page ID #:58
                                                                                                    2019-GEN-014-00




     1      e) “Electronic Filing Service Provider’” An Electronic Filing Service Provider (EFSP) is a
     2         person or entity that receives an electronic filing from a party for retransmission to the Court.
     3         In the submission of filings, the EFSP does so on behalf of the electronic filer and not as an
     4         agent of the Court. (California Rules of Court, rule 2.250(b)(8).)
     5      f) “Electronic Signature” For purposes of these local rules and in conformity with Code of
     6         Civil Procedure section 17, subdivision (b)(3), section 34, and section 1010.6, subdivision
     7         (b)(2). Government Code section 68150, subdivision (g), and California Rules of Court, rule
     8         2.257, the term “Electronic Signature” is generally defined as an electronic sound, symbol, or
.    9         process attached to or logically associated with an electronic record and executed or adopted
    10         by a person with the intent to sign the electronic record.
    11      g) “Hyperlink” An electronic link providing direct access from one distinctively marked place
    12          in a hypertext or hypermedia document to another in the same or different document.        ^
    13      h) ‘Tortable Document Format” A digital document format that preserves all fonts,              B
    14         formatting, colors and graphics of the original source document, regardless of the application
    15         platform used.                                                                                 1
     16   2) MANDATORY ELECTRONIC FILING
     17     a) Trial Court Records
     18         Pursuant to Government Code section 68150, trial court records may be created, maintained,
     19         and preserved in electronic format. Any document that the Court receives electronically must

    20          be clerically processed and must satisfy all legal filing requirements in order to be filed as an

    21          official court record (California Rules of Court, rules 2.100, et seq. and 2.253(b)(6)).
    22      b) Represented Litigants,
    23          Pursuant to California Rules of Court, rule 2.253(b). represented litigants are required to
    24          electronically file documents with the Court through an approved EFSP.
    25      c) Public Notice
    26          The Court has issued a Public Notice with effective dates the Court required parties to

     27         electronically file documents through one or more approved EFSPs. Public Notices containing

     28         effective dates and the list of EFSPs are available on the Court’s website, at www.lacourt.org:.

                                                                 2
                           FIRST AMENDED Cpvi'ERAL CRDSl P.E MANDATORY ELECTRONIC FILING FOR CIVIL
Case 2:19-cv-07053-MWF-FFM Document 1-1 Filed 08/13/19 Page 49 of 61 Page ID #:59
                                                                                                  2019-GEN-014-00



 1        d) Documents in Related Cases
 2           Documents in related cases must bs electronically filed in the eFiling portal for that case type if
 3           electronic filing has been implemented in that case type, regardless of whether the case has
 4           been related to a Civil case,
 5   3) EXEMPT LITIGANTS
 6        a) Pursuant to California Rules of Court, rule 2.253(b)(2), self-represented litigants are exempt
 7           from mandatory electronic filing requirements.
 8        b) Pursuant to Code of Civil Procedure section 1010.6, subdivision (d)(3) and California Rules of
 9           Court, rule 2.253(b)(4), any party may make application to the Court requesting to be excused
10           from filing documents electronically and be permitted to file documents by conventional
11           means if the party shows undue hardship or significant prejudice.

12   4) EXEMPT FmiNGS
13        a) The following documents shall not be filed electronically:                                f

14           i)      Peremptory Challenges or Challenges for Cause of a Judicial Officer pursuant to Code of
15                   Civil Procedure sections 170.6 or 170.3;
16           ii)     BondsAJndertaldng documents;
17            iii)   Trial and Evidentiary Hearing Exhibits
18            iv)    Any ex parte application that is filed concurrently with a new complaint including those
19                   that will be handled by a Writs and Receivers department in the Mosk courthouse; and
20            v)     Documents submitted conditionally under seal. The actual motion or application shall be
21                   electronically filed. A courtesy copy of the electronically filed motion or application to
22                   submit documents ecndidonally under seal must be provided with the documents
23                   submitted conditionally under seal.
24        b) Lodgments
25            Documents attached to a Notice of Lodgment shall be lodged and/or served conventionally in

26   paper form. The actual document entitled, “Notiee of Lodgment,” shall be filed electronically.

27   //

28   //

                                                              3
                          RRST AMENDED             CaSgR RE MA.NDATORY ELECTRONIC FILING FOR CIVIL
Case 2:19-cv-07053-MWF-FFM Document 1-1 Filed 08/13/19 Page 50 of 61 Page ID #:60
                                                                                               20i9-GEN-OI4-00




 1    5) ELECTRONIC FILING SYSTEM WORKD'JG PROCEDURES
 2      Electronic filing service providers rn’Jst obtain and manage registration information for persons
 3      and entities electronically filing v/itb the court.
 4    6) TECHNICAL REQUIREMENTS
 5      a) Electronic documents must be electronically filed in PDF, text searchable format when
 6          technologically feasible without impairment of the document’s image.
 7      b) The table of contents for any filing must be bookmarked.
 8      c) Electronic documents, including but not limited to, declarations, proofs of service, and
 9          exhibits, must be bookmarked within the document pursuant to California Rules of Court, rule
 10         3.1110(f)(4). Electronic bookmarks must include links to the first page of each bookmarked
11          item (e.g. exhibits, declarations, deposition excerpts) and with bookmark titles that identify the
 12         bookedmarked item and briefly describe the item.
                                                                                               ■   ■




 13     d) Attachments to primary documents must be bookmarked. Examples include, but ^e not
 14         limited to, the foUov/ing: ; -
 15         i)     Depositions;, , .
 16         ii)    Declarations;
 17         iii)   Exhibits (including exhibits to declarations);
 18         iv)    Transcripts, (including excerpts within transcripts);
 19         v)     Points and Authorities;
 20         vi)    Citations; and
 21         vii) Supporting Briefs.
 22     e) Use of hyperlinks within dooumeuts (including attachments and exhibits) is strongly
 23         encouraged.
 24      f) Accompanying Documsr^ts
 25         Each document acompanyirig a single pleading must fas electronically filed as a separate

 26         digital PDF document.
 27      g) Multiple Documents

 28          Multiple documents relating to one case can be uploaded in one envelope transaction.

                                                               4
                        FIRST AMENDED GENERAL QRDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
                                                     .! *
Case 2:19-cv-07053-MWF-FFM Document 1-1 Filed 08/13/19 Page 51 of 61 Page ID #:61
                                                                                                20I9-GEN-014.00



  1     h) Writs and Abstracts
 2         Writs and Abstracts must be submsttad as a separate electronic envelope.
 3      i) Sealed Documents
 4         If and when a judicial officer orders documents to be filed under seal, those documents must be
 5         filed electronically (unless exempted under paragraph 4); the burden of accurately designating
 6         the documents as sealed at the time of electronic submission is the submitting party’s
 7         responsibility.
 8      J) Redaction
 9         Pursuant to California Rules of Court, rule 1.201, it is the submitting party’s responsibility to
 10        redact confidential information (such as using initials for names of minors, using the last four
 11        digits of a social security number, and using the year for date of birth) so that the information
 12        shall not be publicly displayed.                                                        .
 13   7) ELECTRONIC FILING SCHEDULE                                                                    ,v.
 14     a) Filed Date
 15        i) Any document received electronically by the court between 12:00 am and 11:59:59 pm
 16            shall be deemed to have been effectively filed on that court day if accepted for filing. Any
 17            document received electronically on a non-court day, is deemed to have been effectively
 18            filed on the next court day if accepted.   (California Rules of Court, rule 2.253(b)(6); Code
 19            Civ. Proc. § 1010.6Co)(3).)
 20        ii) Notwithstanding any other provision of this order, if a digital document is not filed in due
 21            course because of: (1) an interruption in service; (2) a transmission error that is not the
 22            fault of the transmitter, or (3) a processing failure that occurs after receipt, the Court may
 23            order, either on its own motion or by noticed motion submitted with a declaration for Court
 24            consideration, that the document be deemed filed and/or that the document’s filing date
 25            conform to the attempted transmission date.

 26   8) EX PARTE APPLICATIONS
 27     a) Ex parte applications and dl documents in support thereof must be electronically filed no later

 28         than 10:00 a.m. the court day before the ex parte hearing.

                                                           5
                        FIRST AMENDEO Gs^'ERAL ORDER RE iVlANDATORY ELECTRONIC RLING FOR CIVIL
Case 2:19-cv-07053-MWF-FFM Document 1-1 Filed 08/13/19 Page 52 of 61 Page ID #:62
                                                                                              2019-GEN.014-00



  1     b) Any written opposition to an sx paite application must be electronically filed by 8:30 a.m. the
 2          day of the ex parte hearing. A printed courtesy copy of any opposition to an ex parte
 3          application must be provided to the court the day of the ex parte hearing.
 4    9) PRINTED COURTESY COPIES
  5     a) For any filing electronically filed two or fewer days before the hearing, a courtesy copy must
 6          be delivered to the courtroom by 4:30 p.ra. the same business day the document is efiled. If
  7         the efiling is submitted after 4:30 p.m., the courtesy copy must be delivered to the courtroom
  8         by 10:00 a.m. the next business day.
  9     b) Regardless of the time of electronic filing, a printed courtesy copy (along with proof of
10          electronic submission) is required for the following documents:
 11          i)   Any printed document required pursuant to a Standing or General Order;
 12         ii)   Pleadings and motions (including attachments such as declarations and exhibits) of 26
 13               pages or more;
                                                                                                              .-f
 14        iii)   Pleadings and motions that include points and authorities;                           ■-S'


 15        iv)    Demurrers;                       '
 16         v)    Anti-SLAPP filings, pursuant to Code of Civil Procedure section 425.16;
 17        vi)    Motions for Summary Judgment/Adjudication; and
 18        vii)   Motions to Compel Further Discovery.
 19     c) Nothing in this General Order precludes a Judicial Officer from requesting a courtesy copy of
20          additional documents. Courtroom specific courtesy copy guidelines can be found at
21          www.lacourt.org on the Civil webpage under “Courtroom Information.”
22    10) WAIVER OF FEES AND COSTS FDR ELECTRONICALLY FE.ED DOCUMENTS
23       a) Fees and costs associated with electronic filing must be waived for any litigant who has
24          received a fee waiver. (California Rules of Court, rules 2.253(b)(), 2.258(b), Code Civ. Proc. §
 25          10i0.6(d)(2).)
 26      b) Fee waiver applications for waiver of court fees and costs pursuant to Code of Civil Procedure

 27          section 1010.6, subdivision (b)(6), and C^fomia Rules of Court, rule 2.252(f), may be

 28          electronically filed in any authorixed action or proceeding.

                       FIRST AMENDED GENERAL ORDER RE MANDATORY ELeTTRONIC FIUNG FOR CIVIL
Case 2:19-cv-07053-MWF-FFM Document 1-1 Filed 08/13/19 Page 53 of 61 Page ID #:63
                                                                                                2019-GEN-014-00



 1    11) SIGNATURES ON ELECTRONIC FILING
 2       For purposes of this Genera! Order, all electronic filings must be in compliance with California
 3       Rules of Court, rule 2,257. This Genera! Order applies to documents filed within the Civil
 4       Division of the Los Angeles County Superior Court.
 5

 6           This First Amended Genera! Order supersedes any previous order related to electronic filing,
 7    and is effective immediately, and is to remain in effect until otherwise ordered by the Civil
 8    Supervising Judge and/or Presiding Judge.
 9
10    DATED: May 3,2019
11
12
 13
 14

 15
 16
 17
 18

 19
20

21

22

 23

 24
                                                   .1
 25                                    s




 26
 27

 28

                                                              7
                        FIRST AMENI5!s57 ,G&MER/;L ORDER RE MANDATORY ELECTRONIC FlUNG FOR CIVIL
 Case 2:19-cv-07053-MWF-FFM Document 1-1 Filed 08/13/19 Page 54 of 61 Page ID #:64
                                                                                                     Reserved for Clerk's File Stamp
                 SUPERIOR COURT OF CALIFORNIA
                    COUNTY OF LOS ANGELES
 COURTHOUSE ADDRESS:                                                                                           FILED
Spring Street Courthouse                                                                           Supeficr Coirt ef CaBfofrta
                                                                                                     (^un^d LosArigates
312 North Spring Street, Los Angeles, CA 90012
                                                                                                          08/05^019
                                                                                                 a                              ^ C&I& a$ Catoi
                   NOTICE OF CASE ASSIGNMENT
                                                                                            By            Raiunda Ciftai                Osfsity
                          UNLIMITED CIVIL CASE

                                                                                    CASE NUMBER:

 Your case is assigned for all purposes to the judicial officer indicated below. 19STCV27416

                           THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

               ASSIGNED JUDGE               DEPT      ROOM                      ASSIGNED JUDGE                        DEPT             ROOM
   •/     Stephen I. Goorvitch              5                     i




                                                                  '--r >




    Given to the Plaintiff/Cross-Complainant/Attorney of Record       Sherri R. Carter, Executive Officer / Clerk of Court
    on   08/06/2019                                                          By Romunda Clifton________                                , Deputy Clerk
                 (Date)
LACIV 190 (Rev 6/18)        NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
LASC Approved 05/06
 Case 2:19-cv-07053-MWF-FFM Document 1-1 Filed 08/13/19 Page 55 of 61 Page ID #:65

                                   INSTRL'CTIONS FOR EANDLtNG UNLIMITED CIVIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.
APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross­
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
                                                                                                                              i.
trial date, and expert witnesses.                                                  »   ■




FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. ’.These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exclianged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines e.stablished by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.
This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapte:-- Rules is imperntive.

Class Actions
 Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.
*Provisionallv Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Ceunrpom for ai! pu.rpcsss.




LACIV190 (Rev 6/18)          NOTICE OF CASE ASSIGNMENT ^ UNLIMITED CIVIL CASE
LASC Approved 05/06
            Case 2:19-cv-07053-MWF-FFM Document 1-1 Filed 08/13/19 Page 56 of 61 Page ID #:66
Electronically FILED by Superior Court of California, County of Los Angeles on OS/OS/ZQ^^^^rgiJI^fgni R. Carter, Executive Officer/Clerk of Court, by R, Clifton,Deputy Clg||y|_Q,^ g

            ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                                                                    FOR COURT USE ONLY
          — M, Elizabeth Graham, State Bar# 143085
            GRANT & EISENHOFER P.A.
            101 California Street, Suite 2710
            San Francisco, CA 94111
                 TELEPHONE NO,: ^15) 365-9585                                               FAX NO.:
            ATTORNEY FOR fNameJ.- Plaintiff________
          SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                      STREET ADDRESS: Stanley Moslc Courthouse, 111 N. Hill Street
                      MAILING ADDRESS:
                     CITY AND ZIP CODE: Los Aogeles, CA 90012
                            BFtANCH NAME:
                CASE NAME:
                Rosette Pambakian v. Gregory Blatt, et al.
                                                                                                                                                       CASE NUMBER:
                     CIVIL CASE COVER SHEET                                                        Complex Case Designation
            3 Unlimited                         C          Limited
                                                                                          I '      I Counter           I        I   Joinder
                          (Amount                          (Amount
                                                                                                                                                        JUDGE:
                          demanded                         demanded is                   Filed with first appearance by defendant
                          exceeds $25,000)                 $25,000 or less)                   (Cal. Rules of Court, rule 3.402)                          DEPT:

                                                              Items 1-6 below must be completed (see instructions on page 2).
           1. Check one box below for the case type that best describes this case:
              Auto Tort                                   Contract                                                                             Provisionally Complex Civil Litigation
                                                                                                   Breach of contract/warranty (06)            (Cal. Rules of Court, rules 3.400-3.403)
                 ZH Auto (22)
                     ___      Uninsured motorist (46)                                  ZZ          Rule 3.740 collections (09)                        Antitrust/Trade regulation (03)
                 Other PI/PD/WD (Personal Injury/Property                              ___        Other collections (09)                              Construction defect (10)
                 Damage/Wrongful Death) Tort                                           ......      Insurance coverage (18)                     __     Mass tort (40)
                            1 Asbestos (04)                                     .,.,1___           Qther contract (37)      .                  __      Securities litigation (28)
                            I Product liability (24)                               Real Property                                               ___     Environmental/Toxic tort (30)
                            I Medical malpractice (45)                             1   I Eminent domain/inverse                                ___     Insurance coverage claims arising froni the
                     !Z] Other PI/PDArt/D (23)                                     ____ condemnation (14)                                              above listed provisionally complex case
                                                                                   I            1 Wrongful eviction (33)                               types (41)
                 Non-PI/PD/WD (Other) Tort
                                                                                   I            I Other real property (26)                     Enforcement of Judgment
                 I___I Business tort/unfair business practice (07)
                 I        I Civil rights (08)                                      Unlawful Detainer                                           I     I Enforcement of judgment (20)
                                                                                                                                                                                                       t i'-
                 Lj Defamation (13)                                                I  I Commercial (31)                                        Miscellaneous Civil Complaint
                 □ Fraud (16)                                                      I            I. Residential (32)                            [      RICO (27)
                 I        I Intellectual property (19)                             I            I Drugs (38)                                   [      Other complaint (not specified above) (42)
                 1        1 Professional negligence (25)                           Judicial Review                                             Miscellaneous Civil Petition
                                                                                   I___ I Asset forfeiture (05)
                                                                                                                                               [
                 d] Other non-PI/PD/VyO tort (35)
                     Employment                                                    □               Petition re: arbitration award (11)         j
                                                                                                                                                       Partnership and corporate governance (21)
                                                                                                                                                      Other petition (not specified above) (43)
                            I Wrongful termination (36)                            [               Writ of mandate (02)
                            I Other employment (15)                                [               Other judicial review (39)
           2.        This case 1      I is  I ✓ I is not     complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
                     factors requiring exceptional judicial management:
                     a. I      I Large number of separately represented parties                                d. I        I Large number of witnesses
                     b. 1      I Extensive motion practice raising difficult or novel                          e. I        I Coordination with related actions pending in one or more courts
                                  issues that will be time-consuming to resolve                                             in other counties, states, or countries, or in a federal court
                     c.           Substantial amount of documentary evidence                                    f. I       1 Substantial postjudgment judicial supervision

           3.        Remedies sought (check all that apply): a.I ✓ I monetary                                  b. 1 ✓ I nonmonetary; declaratory or injunctive relief                         c. | ✓ | punitive
           4.        Number of causes of action (specify):                  8
           5.        This case         I    I is       I     I is not     a class action suit.
           6.        If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)

          Date: August 5, 2019
          M. Elizabeth Graham
                                                   (TYPE OR PRINT NAME)                                                                       (SIGNATURE OF PARTY OR ATTORNEY FOR PARTY)
                                                                                     NOTICE
                . Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
                  under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
                  in sanctions.
                • File this cover sheet in addition to any cover sheet required by local court rule.
                • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
                  other parlies to the action or proceeding.
                • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only^. ^ ^
                                                                                                                                                            Cal. Rules of Court, rules 2.30, 3.220, 3.400-3.403, 3.740;
           Form Adopted for Mandatory Use                                              Cf»2L CjSiSH COVER SHEET                                                     Cal. Standards of Judicial Administration, std. 3.10
             Judicial Council of California                                                                                                                                                       WWW, courlinfo. ca.gov
              CM-010IRev. July 1,2007]
                                                                                                                                                                                              American LegalNet, Inc.
                                                                                                                                                                                              www.foTmsWorkflow.com
 Case 2:19-cv-07053-MWF-FFM Document 1-1 Filed 08/13/19 Page 57 of 61 Page ID #:67
                                                                                                                                               CM-010
                                         INSTRUCTIONS ON KOW TO COSIfiPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papei^. if you srs filing a first paper (for example, a cxjmplaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Ruie 3.740 Coilections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 coilections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Coriiplex Cases. In complex cases only, parties must also use the Civil Case Cover Shoot to docignate whether the
case Is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must bo indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                           CASE TYPES AND EXAMPLES
Auto Tort                                            Contract                                          Provisionally Complex Civil Litigation (Cal.
     Auto (22)-Personal Injury/Property                  Breach of ContractA/Varranty (06)             Rules of Court Rules 3.400-3.403)
          Damage/Wrongful Death                               Breach of Rental/Lease                        Antitrust/Trade Regulation (03)
     Uninsured Motorist (46) {If the                               Contract (not unlawful detainer          Construction Defect (10)
          case involves an uninsured                                   or wrongful eviction)                Claims Involving Mass Tort (40)
          motorist claim subject to                           ContractA/Varranty Breach-Seller              Securities Litigation (28)
          arbitration, check this item                             Plaintiff (not fraud or negligence)      Environmental/Toxic Tort (30)
          instead of Auto)                                    Negligent Breach of Contract/                 Insurance Coverage Claims
                                                  ■               .'W^ranty       ■ •''.•1    i'   •             (arising from provisionally complex
Other PI/PO/WD (Personal Injury/
                                                 ,.      .    Other-Brqach of Contract/Warranty                  case type listed above) (41)
Property Damage/Wrongful Death)
                                                         Collections (e.g., money owed, open ,          Enforcement of Judgment              '•5
Tort
     Asbestos (04)                                            book  accounts),(09)                          Enforcement     of Judgment  (20)   ‘
                                                            ' CollectiCh'Case-Seller Plaintiff                   Abstract of Judgment (Out of
          Asbestos Property Damage                                                                                     County)
          Asbestos Personal Injury/                  •       -Other ProiViissory Note/Cdllectioris
                                                                   Case ■                                      . Confession of Judgment (h'on-
                Wrongful Death
                                                    . •; Insurance .Coverage (not provisionally                        domestic relations)
     Product Liability (not asbestos or
                                                              complex) (18)                                      Sister State Judgment
          toxic/environmental) (24)
     Medical Malpractice (45)                                 Auto Subrogation             ...                   Administrative Agency Award
          Medical Malpractice-                                Other Coverage                                         (not unpaid taxes)
                                                         Other Contract (37)                                     Petition/Certification of Entry of
                Physicians & Surgeons
                                                              Contractual Fraud                                      Judgment on Unpaid Taxes
          Other Professional Health Care
                Malpractice                                   Other Contract Dispute                             Other Enforcement of Judgment
                                                     Real Property                                                    Case
     Other PI/PD/WD (23)                                                                                Miscellaneous Civil Complaint
          Premises Liability (e.g., slip                 Eminent    Domain/Inverse
                                                              Condemnation (14)                             RICO (27)
                and fall)
                                                         Wrongful Eviction (33)                             Other Complaint (not specified
          Intentional Bodily Injury/PD/WD                                                                        above) (42)
                (e.g., assault, vandalism)               Other Real Property (e.g., quiet title) (26)            Declaratory Relief Only
          Intentional Infliction of                           Writ of Possession of Real Property                Injunctive Relief Only (non­
                Emotional Distress                            Mortgage Foreclosure                                     harassment)
          Negligent Infliction of                             Quiet Title .                                      Mechanics Lien
                Emotional Distress                            Other Real Property (not eminent                   Other Commercial Complaint
          Other PI/PD/WD                                      domain, landlord/tenant, or                              Case (non-tori/non-complex)
 Non-PI/PD/WD (Other) Tort                                    foreclosure)                                       Other Civil Complaint
     Business Tort/Unfair Business                   Unlawful   Detainer                                              (non-tort/non-complex)
         Practice (07)                                   Commercial (31)                                Miscellaneous Civil Petition
     Civil Rights (e.g., discrimination,                 Residential (32)                                   Partnership and Corporate
         false arrest) (not civil                        Dpjgs (38) (if the case involves illegal                Governance (21)
          harassment) (08)                                    drugs, check this item; otherwise,            Other Petition (not specified
     Defamation (e.g., slander, libel)                        report as Commercial or Residential)               above) (43)
           (13)                                      Judicial Review ■                                           Civil Harassment
     Fraud (16)                                          Asset Forfeiture (05)                                   Workplace Violence
     Intellectual Property (19)                          Petition. Re: Arbitration Award (11)                    Elder/Dependent Adult
     Professional Negligence (25)                        Writ of Mandate (02)                                          Abuse
         Legal Malpractice                                    Writ-Administrative Mandamus                       Election Contest
         Other Professional Malpractice                     . Writ-Mandamus on Limited Court                     Petition for Name Change
              (not medical or legal)                              Case Matter                                    Petition for Relief From Late
      Other Non-PI/PD/WD Tort (35)                            Writr-Other Limited Court Case                           Claim
 Employment                                                       Review                                         Other Civil Petition
     Wrongful Termination (36)                           Other Judicial Review (39)
     Other Employment (15)                                    Review of Health Officer Order
                                                              Notice of Appeal-Labor
                                                         ______Com.TiissIbner Apoea's
                                                                                                                                             Page 2 of 2
CM4)101Rev. July 1,2007]
                                                               GASS               SHSET •
 Case 2:19-cv-07053-MWF-FFM Document 1-1 Filed 08/13/19 Page 58 of 61 Page ID #:68



 SHORTTIUE: ROSETTE PAMBAKIAN V. GERGORY BLAiTT, et al.                                                  CASE NUMBER




                               CIVIL CASE COVER SHEET ADDENDUM AND
                                       STATEMENT OF LOCATION
                (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)
               This form is required pursuant to Locai Rule 2.3 in all new civil case filings in the Los Angeles Superior Court.




      Step 1: After completing the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type in
              Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.


      Step 2: In Column B, check the box for the type of action that best describes the nature of the case.


      Step 3: In Column C, circle the number which explains the reason for the court filing location you have
              chosen.

                                            Applicable Reasons for Choosing Court Filing Location (Column C)

1. Class actions must be filed in the Stanley Mosk Courthouse, Central District.         7. Location where petitioner resides.

2. Permissive filing in central district.                                                8. Location wherein defendant/respondent functions wholly.

3. Location where cause of action arose.                                                 9. Location where one or more of the parties reside.

4. Mandatory personal injury filing in North District.                                 10. Location of Labor Commissioner Office.
                                                                                       11. Mandatory filing location (Hub Cases - unlawful detainer, limited
5. Location where performance required or defendant resides.
                                                                                       non-collection, limited collection, or personal injury).
6. Location of property or pennanently garaged vehicle.


                                                                              . i


                                                                                                                                                           c
                     -       Category No          „

                               Auto (22)              □ A7100 Motor Vehicle - Personal Injury/Property Damage/Wrongful Death                    1,4, 11
   ■2
   3 O
   < •-              Uninsured Motorist (46)          □ A71 to Personal Injury/Property DamageAfi/rongful Death - Uninsured Motorist            1, 4, 11


                                                      □   A6070 Asbestos Property Damage                                                        1, 11
                            Asbestos (04)
                                                      □ A7221 Asbestos-Personal InjuryAWrongful Death                                           1, 11

                         Product Liability (24)       □ A7260 Product Liability (not asbestos or toxic/environmental)                           1,4, 11
   —     Q>
    £.0                                                                                                                                         1,4, 11
                                                      □ A7210 Medical Malpractice - Physicians & Surgeons
   f i,              Medical Malpractice (45)
                                                      □ A7240 Other Professional Health Care Malpractice
                                                                                                                                                1,4, 11
   1 i
    § ?                                               □ A7250 Premises Liability (e.g., slip and fall)
                                                                                                                                                1,4, 11
    ?I
    S    E
                           Other Personal
                           Injury Property            13 A7230 Intentional Bodily Injury/Property Damage/Wrongful Death (e.g.,
                                                                                                                                                1,40
                          Damage Wrongful                      assault, vandalism, etc.)
    O                        Death (23)                                                                                                         1,4, 11
                                                      □ A7270 Intentional Infliction of Emotional Distress
                                                                                                                                                1,4, 11
                                                      □ A7220 Other Personal Injury/Froperty Damage/Wrongful Death




   LASC CIV 109 Rev. 12/18
                                                      CiVlL CASE COVER SHEET ADDENDUM                                                     Local Rule 2.3

                                                         A^D S:rATEfJ;5NT OF LOCATION                                                           Page 1 of 4
   For Mandatory Use
Case 2:19-cv-07053-MWF-FFM Document 1-1 Filed 08/13/19 Page 59 of 61 Page ID #:69


                                                                                                 CASE NUMBER
SHORT TITLE: ROSETTE PAMBAKIAN V. GERGORY BLATT, et al.




             /.-Civil-Case Cover Sheet
             V ^ ^ Category No ^ ,

                  Business Tort (07)
                                         ^ -Ks;   IliBiiiiSllitiBKi
                                                  □ A6029 Other Commercial/B usiness Tort (not fraud/breach of contract)
                                                                                                                                    Reasons-SeeStepS



                                                                                                                                    1,2.3

                   Civil Rights (08)              □ A6005 Civil Rights/Discrimination                                               1,2,3

                   Defamation (13)                □ A6010 Defamation (slander/libel)                                                 1,2,3
  e-°
  i-i.                 Fraud (16)                 □ A6013 Fraud (no contract)                                                        1,2,3
  1|
  o 5                                             □ A6017 Legal Malpractice                                                          1,2,3
             Professional Negligence (25)
                                                  □ A6050 Other Professional Malpractice (not medical or legal)                      1, 2, 3
  o n
  Z Q
                       Other (35)                 13 A6025 Other Non-Personal Injury/Property Damage tort                            1.2,3

              Wrongful Termination (36)           □   A6037 Wrongful Termination                                                     1,2,3
   :0) S —


                                                  D A6024 Other Employment Complaint Case                                            1,2, 3
    o
    Q.         Other Employment (15)
    E                                             □ A6109 Labor Commissioner Appeals                                                 10
   LLI

                                                  □ A6004 Breach of Kental/Lease Contract (not unlawful detainer or wrongful
                                                                                                                                     2,5
                                                          eviction)
             Breach of Contract/ Warranty                                                                                            2.5
                                                  □ A6008 Contract/Warranty Breach -Seller Plaintiff (no fraud/negligence)
                         (06)
                   (not insurance)                                                                                                   1.2,5,
                                                  □ Ae019 Negligent Breach of ContractA/Varranty (no fraud)
                                                                                                                                     1. 2, 5 ^
                                                  □ A6028 Other Breach of ContracbWarranty (not fraud or negligence)

    o                                             □ A6002 Collections Case-Seller Plaintiff                                          5, 6, 11
    re
                     Collections (09)
    c.                                            □ A6012 Other Promissory Note/Collections Case                                     5, 11 >
   o
   o                                              □   A6034 Collections Case-Purchased Debt (Charged Off Consumer Debt               5, 6, 11
                                                            P'jrchased on or after January 1,2014)

               Insurance Coverage (18)            □ A6015 Insurance Coverage (not complex)                                           1,2, 5,8

                                                  □ A6009 Contractual Fraud                                                          1.2, 3,5
                  Other Contract (37)             □ A6031 Tortious Interference                                                      1.2, 3,5
                                                  Q A6027 Other Contract Dispute(not breach/insurance/fraud/negligence)              1.2, 3, 8,9

               Eminent Domain/Inverse                                                               Number of parcels.               2,6
                                                  □ A7300 Eminent Domain/Condemnation
                 Condemnation (14)
    ■c.
    (U          Wrongful Eviction (33)            □ A6023 Wrongful Eviction Casa                                                     2,6
    a.
    2
    a.
                                                  □ A6018 Mortgage Foreclosure                                                       2,6
    nj
    a>
    00         Other Real Property (26)           □   A6032 Quiet Title                                                              2,6

                                                  □ A6060 Other Real Property (not eminent domain, landlord/tenant, foreclosure)     2,6

             Unlawful Detainer-Commercial         □ .A6021 Unlawful Detainer-Commercial (not drugs or wrongful eviction)             6,11
                           (31)
    -E
             Unlawful Detainer-Residential        □ A6020 Unlawful Detainer-Residential (not drugs or wrongful eviction)             6, 11
     a>                  (32)
    Q
     3            Unlawful Detainer-              □ AS020F Unlawful Detainer-Post-Foreclosure                                        2,6, 11
                 Post-Foreclosure (34)
     re
     c                                            □ A6022 Unlawful Detainer-Drugs                                                    2,6. 11
    ID       Unlawful Detainer-Drugs (38)



                                                  CIVIL CASE COVER SHEET ADDENDUM                                                  Local Rule 2.3
 LASCCIV109 Rev. 12/18
                                                     AMP-           OF LOCATION •                                                    Page 2 of 4
 For Mandatory Use
Case 2:19-cv-07053-MWF-FFM Document 1-1 Filed 08/13/19 Page 60 of 61 Page ID #:70


SHORTTITLE: ROSETTE PAMBAKIAN V. GERGORY BLATT, Gtal.                                              CASE NUMBER




                        1
                             .A .


                      Asset Forfeiture (05)        □ A6108 Asset Forfeiiuro Case
                                                                                                                       mm
                                                                                                                       2,3, 6
                                                                                                                                       ; H




                   Petition re Arbitration (11)    □   A6115 Petition to Coirpel/ConfirmA/acate Arbitration            2,5
   .2
   Qd                                              □ A6151 Writ - Administrative Mandamus                              2,8

                      Writ of Mandate (02)         □ A6152 V/rit - Mandamus on Limited Court Case Matter               2
   o
   =5
       =9                                          □ A6153 Writ - Other Limited Court Case Review                      2


                   Other Judicial Review (39)      □ A6150 OtherWrit/Judicial Review                                    2,8


                 Antitrust/Trade Regulation (03)   □ A6003 Antitmst/Trade Regulation                                    1,2,8
    c
   .2
   to               Construction Defect (10)       □ A6007 Construction Defect                                          1,2, 3

                   Claims Involving Mass Tort
       2                      (40)
                                                   □   A6006 Claims Involving Mass Tort                                 1,2, 8
       a.
   E
   o                                               □   A6035 Securities Litigation Case                                 1,2,8
   o                Securities Litigation (28)

       c                   Toxic Tort                                                                                   1,2, 3,8
       o                                           □   A6036 Toxic Tort/Environmental
                       Environmental (30)

       o          Insurance Cove,'-age Claims
                                                   □   A6014, .insurance Coverage/Subrogation (complex case only)       1,2, 5, 8
   a.               from Complex Case (41)

                                                   □   A6141 Sister State Judgment                                      2, 5, 11

                                                   D A6160 Abstract of Judgment                                         2,6
  lU        <u                                     □ A6107 Confession of Judgment (non-domestic relations)              2,9
            o>
                          Enforcement                                                                                         • ')
                        of Judgment (20)           □ A6140 Administrative Agency Award (not unpaid taxes)               2,8
  3 =
  iS "o                                            □ A6114 Petition/Certificate for Entry of Judgment on Unpaid Tax     2,8

                                                   □ A6112 Other Enforcement of Judgment Case                           2,8,9


                            RICO (27)              □ A6033 Racketeering (RICO) Case                                     1,2,8
            J2



  If
  11
  s ;oe
                       Other Complaints
                   (Not Specified Above) (42)
                                                   □ Ae030 Declaratory Relief Only
                                                   □ A6040 Injunctive Relief Only (not domestic/harassment)
                                                   □ Aeoi 1 Other Commercial Complaint Case (non-tort/non-complex)
                                                                                                                        1,2,8
                                                                                                                        2,8
                                                                                                                        1,2,8

                                                   □ A6000 Other Civil Complaint (non-tort/non-complex)                 1,2, 8

                     Partnership Corporation       □ A6113 Partnership and Corporate Governance Case                    2,8
                        Governance (21)

                                                   □ A6121 Civil Harassment With Damages                                2, 3,9
                                                   □ A6123 Workplace Harassment Vi/ith Damages                          2, 3,9
  I .1                                             □ A6124 Elder/Dependent Adult Abuse Case With Damages                2, 3,9
  Ji                   other Petitions (Not
                      Specified Above) (43)        □ A6150 Election Contest                                             2
  iS                                               O A6110 Petition for Change of Name/Change of Gender                 2,7
                                                   □ AG170 Petition for Relief from Late Claim Law                      2, 3,8
                                                   □ A6100 Other avil Petition                                          2,9
                                                                     ;■ r;   .........




                                                   CiVIL CASE COVER SHEET ADDENDUM                                    Local Rule 2.3
 LASC CIV 109 Rev. 12/18
                                                      A^^■D-STATSa^5E^5T OF LOCATION ,                                  Page 3 of 4
 For Mandatory Use                                                                                                                           ■r
     Case 2:19-cv-07053-MWF-FFM Document 1-1 Filed 08/13/19 Page 61 of 61 Page ID #:71


     SHORTTITLE: ROSETTE PAMBAKIAN V. GERGORY BLATT, eta!.                                     CASE NUMBER




    Step 4; Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column C for the
            type of action that you have selected. Enter the address which is the basis for the filing location, including zip code.
            (No address required for class action cases).

                                                                              ADD.RESS:
       REASON:                                                                                     465 S La Cienega Blvd

        □ 1.02.D3.D4.D5.D6.D7. □ S. □ 9.DlC.el1.



       CITY:                                       STATE:     ZIP CODE;


       LOS ANGELES                                 CA         90048

    Step 5: Certification of Assignment: I certify that this case is properly filed in the CENTRAL DISTRICT              District of
            the Superior Court of California, County of Los Angeles [Code Civ. Proc., §392 et seq., and Local Rule 2.3(a)(1)(E)].




      Dated:        AUGUST 5, 2019
                                                                                            (SIGNATURE OF ATTCRNEY/FILING PARTY)

1


      PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
      COMMENCE YOUR NEW COURT CASE:                                                                                                          I   ■■




               1.   Original Complaint or Petition.                       ■
           2.       If filing a Complaint, a completed Summons form for issuance by the Clerk.
           3.       Civil Case Cover Sheet, Judicial Council form CM-010.

           4.       Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev.
                    02/16).
           5.       Payment in full of the filing fee, unless there is court order for waiver, partial or scheduled payments.
           6.       A signed order appointing the Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or petitioner is a
                    minor under 18 years of age will be required by Court in, order to issue a summons.

           7.       Additional copies of documents to bs confcrrnsd by the Clerk. Copies of the cover sheet and this addendum
                    must be served along with the 5umm0.es anti ccr.ip!,airit, or other initiating pleading in the case.




                                                  C’VIL CASE COVER SHEET ADDENDUM                                               Local Rule 2.3
      LASC CIV 109 Rev. 12/18
                                                     AWIJ           OF LOCATION                                                   Page 4 of 4
      For Mandatory Use
